Case 1:22-cv-00228-RGA          Document 186    Filed 10/15/24    Page 1 of 67 PageID #: 6872




                               IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF DELAWARE

   EXELIXIS, INC.,

                  Plaintiff,

          V.                                             Civil Action No. 22-228-RGA
                                                                (Consolidated)
   MS LABO RA TORIES PRIVATE
   LIMITED and MSN
   PHARMACEUTICALS, INC.,

                  Defendants.



                                       TRIAL OPI ION

  Jack B. Blumenfeld, Anthony D. Raucci, MORRIS, NICHOLS, ARSHT & TUNNELL LLP,
  Wilmington, DE; William F. Lee, Lisa J. Pirozzolo, Emily R. Whelan, Kevin S. Prussia, Marissa
  A. Lalli, Jonathan A. Cox, Timothy A. Cook, WILMER CUTLER PICKERING HALE AND
  DORR LLP, Boston, MA; Amy K. Wigmore, Gerard A. Salvatore, WILMER CUTLER
  PICKERING HALE AND DORR LLP, Washington, DC; Charlotte Geaghan-Breiner, WILMER
  CUTLER PICKERING HALE AND DORR LLP, Palo Alto, CA; Cristina Salcedo, WILMER
  CUTLER PICKERING HALE AND DORR LLP, Los Angeles, CA,

         Attorneys for Plaintiff.

  Dominick T. Gattuso, HEYMAN ENERIO GATTUSO & HIRZEL LLP, Wilmington, DE;
  George C. Lombardi, Bryce A. Cooper, Kurt A. Mathas, Elizabeth E. Grden, Kevin J. Boyle,
  Brian O'Gara, WINSTON & STRAWN LLP, Chicago, IL,

         Attorneys for Defendants.




  October 15, 2024


                                                   1
Case 1:22-cv-00228-RGA            Document 186       Filed 10/15/24      Page 2 of 67 PageID #: 6873




  ANDRE~                 s, iu~

           Exelixis, Inc. brought this patent infringement action under 35 U.S.C. §§ 271(a)-(c)

  and/or (e)(2) and pursuant to the Hatch-Waxman Act codified at 21 U.S.C. § 355 against MSN

  Laboratories Private Limited and MSN Pharmaceuticals, Inc. ("MSN"). (D.I. 1 ,r,r 1- 2, D.I.

  124 ,r 1). I held a four-day bench trial from October 23 to October 26, 2023.

           The asserted patents fall into two groups. The first group consists only of U.S . Patent   o.

  11 ,298,349 (the '" 349 patent"). Exelixis asserted Claim 3 of the ' 349 patent. The parties dispute

  whether MSN infringed Claim 3 of the ' 349 patent. (D.I. 124 ,r 6). The parties dispute whether

  Claim 3 of the ' 349 patent is invalid as obvious. (Id.).

           The second group consists of U.S. Patent Nos. 11 ,091 ,439 (the "'439 patent"),

  11 ,091,440 (the "'440 patent"), and 11 ,098,015 (the '" 015 patent"). This group is called the

  Malate Salt Patents; they share an identical specification. (Id. ,r 33). The claims at issue are

  Claim 4 of the '439 patent, Claim 3 of the ' 440 patent, and Claim 2 of the '015 patent. (Id. ,r 6).

  MSN stipulated to the infringement of the asserted claims of the Malate Salt Patents. (D.I. 23).

  The parties dispute whether the asserted claims of the Malate Salt Patents are invalid for lack of

  written description and obviousness-type double patenting.

           For the following reasons, I find Claim 3 of the ' 349 patent not infringed and not invalid.

  I find the asserted claims of the Malate Salt Patents not invalid.

    I.     BACKGROUND

           MSN submitted Abbreviated New Drug Application ("ANDA") No. 213878 to the U.S.

  Food and Drug Administration ("FDA"), seeking approval to manufacture and sell a generic

  version of Cabometyx, a cancer drug made by Exelixis (the "MSN ANDA Product"). (D.I. 1

  ,r 1).

                                                         2
Case 1:22-cv-00228-RGA          Document 186         Filed 10/15/24       Page 3 of 67 PageID #: 6874




          Exelixis brought a complaint, alleging MSN infringed the Malate Salt Patents. (D.I. 1

  ,r,r 28- 56). Exelixis had filed a separate action against MSN, alleging infringement of the '349
  patent. (D .I. 34) 1. The two actions are consolidated into the present case. (Id.).

          The asserted Malate Salt Patent claims require a cabozantinib malate salt that

  is crystalline. ('439 patent at 32:22- 24, 32:28- 36; '440 patent at 32 :1 6- 21; '015 patent at 32:11-

  16). The '349 patent is directed to a pharmaceutical composition of cabozantinib (L)-malate that

  includes certain classes of excipients and is free of a harmful genotoxic impurity. ('349 patent at

  34:30- 51).

          Exelixis sells Cabometyx and Cometriq. Cabometyx is indicated for the treatment of

  kidney cancer, liver cancer, and differentiated thyroid cancer. (D.I. 124-1 at 9 of 314). Exelixis

  markets capsules comprising cabozantinib (S)-malate 2 in the United States under the trade name

  Cometriq. (Id.). Cometriq is indicated for the treatment of patients with progressive, metastatic

  medullary thyroid cancer. (Id. at 10 of 314 ). The active pharmaceutical ingredient ("API") in

  Cabometyx and Cometriq is the (L)-malate salt of cabozantinib. (Id. at 7- 8 of 314).

         The Malate Salt Patents and the '349 patent have been listed in connection with

  Cabometyx in the FDA's Orange Book. (Id. at 10 of314). 3

   II.   LEGAL STANDARD

                A. Infringement

         A patent is directly infringed when a person "without authority makes, uses, offers to sell,

  or sells any patented invention, within the United States or imports into the United States any



          1
            The complaint for the '349 patent is filed in case number 22-945 . The complaint was
  filed before the actions were consolidated into the present case.
          2
            Dr. Shah testified that (S)-malate and (L)-malate are the same type of salt. The (S) and
  (L) refer to different naming conventions. (Tr. 589:9- 13).


                                                         3
Case 1:22-cv-00228-RGA         Document 186         Filed 10/15/24     Page 4 of 67 PageID #: 6875




  patented invention during the term of the patent." 35 U.S.C. § 271(a). Determining infringement

  is a two-step analysis. Markman v. Westview Instruments, Inc., 52 F.3d 967, 976 (Fed. Cir. 1995)

  (en bane), aff'd, 517 U.S . 370 (1996). First, the court must construe the asserted claims to

  ascertain their meaning and scope. Id. The trier of fact must then compare the properly construed

  claims with the accused infringing product. Id. This second step is a question of fact. Bai v. L &

  L Wings, Inc. , 160 F.3d 1350, 1353 (Fed. Cir. 1998). The patent owner bears the burden of

  proving infringement by a preponderance of the evidence. SmithKline Diagnostics, Inc. v.

  Helena Lab 'ys Corp., 859 F.2d 878, 889 (Fed. Cir. 1988).

         In a Hatch-Waxman case, the plaintiff s infringement claim is based on the accused

  infringer's future conduct, rather than past acts of infringement. Under§ 271(e)(2), the

  "infringement inquiry ... is focused on the product that is likely to be sold following FDA

  approval." Abbott Lab 'ys v. TorPharm, Inc. , 300 F.3d 1367, 1373 (Fed. Cir. 2002). "Because

  drug manufacturers are bound by strict statutory provisions to sell only those products that

  comport with the AND A's description of the drug, an ANDA specification defining a proposed

  generic drug in a manner that directly addresses the issue of infringement will control the

  infringement inquiry." Id.

         "Whoever actively induces infringement of a patent shall be liable as an infringer." 35

  U.S.C. § 271(b). To prevail on a claim of induced infringement, the plaintiff must show (1) "that

  there has been direct infringement," and (2) "that the alleged infringer knowingly induced

  infringement and possessed specific intent to encourage another's infringement. " Enplas Display

  Device Corp. v. Seoul Semiconductor Co., 909 F.3d 398,407 (Fed. Cir. 2018) (cleaned up). In a

  Hatch-Waxman case, a plaintiff "can satisfy its burden to prove the predicate direct infringement

  by showing that if the proposed ANDA product were marketed, it would infringe the [asserted



                                                       4
Case 1:22-cv-00228-RGA          Document 186         Filed 10/15/24      Page 5 of 67 PageID #: 6876




  claim]." Vanda Pharms. Inc. v. West-Ward Pharms. Int '! Ltd., 887 F.3d 1117, 1130 (Fed. Cir.

  2018).

              B. Written Description

           The written description requirement of 35 U.S .C. § 112 requires that the specification

  "clearly allow persons of ordinary skill in the art to recognize that [the inventor] invented what is

  claimed." Ariad Pharms., Inc. v. Eli Lilly & Co., 598 F.3d 1336, 1351 (Fed. Cir. 20 10) (en bane)

  (alteration in original). "In other words, the test for sufficiency is whether the disclosure of the

  application relied upon reasonably conveys to those skilled in the art that the inventor had

  possession of the claimed subject matter as of the filing date." Id. "When determining whether a

  specification contains adequate written description, one must make an 'objective inquiry into the
                        '
  four comers of the specification from the perspective of a person of ordinary skill in the art.'"

  Bos. Sci. Corp. v. Johnson & Johnson , 647 F.3d 1353 , 1366 (Fed. Cir. 2011) (quoting Ariad, 598

  F.3d at 1351).

           The written description inquiry is a question of fact. Ariad, 598 F.3d at 1351. "A party

  must prove invalidity for lack of written description by clear and convincing evidence."

  Vasudevan Software, Inc. v. MicroStrategy, Inc., 782 F.3d 671 , 682 (Fed. Cir. 2015).

              C. Obviousness

           A patent claim is invalid as obvious under 35 U.S .C. § 103 "if the differences between

  the claimed invention and the prior art are such that the claimed invention as a whole would have

  been obvious before the effective filing date of the claimed invention to a person having ordinary

  skill in the art to which the claimed invention pertains." 35 U.S.C. § 103; see also KSR Int '! Co.

  v. Teleflex Inc., 550 U.S. 398, 406-07 (2007). "As patents are presumed valid, a [defendant] bears

  the burden of proving invalidity by clear and convincing evidence." Shire, LLC v. Amneal



                                                        5
Case 1:22-cv-00228-RGA          Document 186         Filed 10/15/24      Page 6 of 67 PageID #: 6877




  Pharms. , LLC, 802 F.3d 1301, 1306 (Fed. Cir. 2015) (internal citations and quotation marks

  omitted). "Under§ 103, the scope and content of the prior art are to be determined; differences

  between the prior art and the claims at issue are to be ascertained; and the level of ordinary skill

  in the pertinent art resolved. Against this background, the obviousness or nonobviousness of the

  subject matter is determined." KSR, 550 U.S. at 406 (internal citation and quotation marks

  omitted).

         A court is required to consider secondary considerations, or objective indicia of

  nonobviousness, before reaching an obviousness determination, as a "check against hindsight

  bias." See In re Cyclobenzaprine Hydrochloride Extended-Release Capsule Pat. Litig. , 676 F.3d

  1063, 1078- 79 (Fed. Cir. 2012). "Such secondary considerations as commercial success, long

  felt but unsolved needs, failure of others, etc., might be utilized to give lig;ht to the circumstances

  surrounding the origin of the subject matter sought to be patented." Graham v. John Deere Co. of

  Kansas City, 383 U.S. 1, 17-18 (1966).

              D. Obviousness-Type Double Patenting

         Generally, an obviousness-type double patenting analysis entails two steps. First, as a

  matter of law, a court construes the claim in the earlier patent and the claim in the later patent

  and determines the differences. Georgia- Pacific Corp. v. United States Gypsum Co. , 195 F.3d

  1322, 1326 (Fed. Cir. 1999). Second, the court determines whether the differences in subject

  matter between the two claims render the claims patentably distinct. Id. at 1327. A later claim

  that is not patentably distinct from an earlier claim in a commonly owned patent is invalid for

  obviousness-type double patenting. In re Berg, 140 F.3d 1428, 1431 (Fed. Cir. 1998). A later

  patent claim is not patentably distinct from an earlier patent claim if the later claim is obvious

  over, or anticipated by, the earlier claim. Eli Lilly & Co. v. Barr Lab'ys, Inc., 251 F.3d 955 , 968



                                                        6
Case 1:22-cv-00228-RGA            Document 186      Filed 10/15/24      Page 7 of 67 PageID #: 6878




  (Fed. Cir. 2001). Objective indicia (that is, secondary considerations) of non-obviousness must

  be considered in an obviousness-type double patenting analysis. Eli Lilly & Co. v. Teva

  Parenteral Meds., Inc., 689 F.3d 1368, 1381 (Fed. Cir. 20 12).

  III.    INFRINGEMENT

              A. The Asserted Claim

          The parties dispute whether MSN's ANDA Products infringe Claim 3 of the '349 patent.

  Claim 3 recites:

          A pharmaceutical composition for oral administration comprising Compound IB;

                                                                              ra




          one or more fillers ; one or more disintegrants; one or more glidants; and one or
             more lubricants, wherein the pharmaceutical composition is a tablet or capsule
             pharmaceutical composition, and;
          wherein the pharmaceutical composition is essentially free of 6,7-dimethoxy-
             quinoline-4-ol.

  ('349 patent at 34:30- 51). 4

              B. Findings of Fact

              1. A glidant is a material that improves the flow of a drug powder mixture. (Tr.
                 60:2-4, 82:9- 11 , 230: 16-19). 5



         4
             The parties refer to "6,7-dimethoxy-quinoline-4-ol" as the " 1-1 impurity." I will also
  refer to it as such.
          5
             "Tr." refers to the trial transcript. (D.I. 161 , 162, 163, 164). It is consecutively
  paginated.
                                                        7
Case 1:22-cv-00228-RGA       Document 186         Filed 10/15/24      Page 8 of 67 PageID #: 6879




          2. A diluent can affect the flow properties of a mixture. (Tr. 194:21- 195:6, 227: 10-
             228:3).

           3. An excipient can have multiple functions. (Tr. 77:3- 8, 179:25- 180:4, 247:12-13).
              An excipient can be both a glidant and a diluent. (Tr. 77:3- 8, 93:2- 6, 247:12-22).

          4. Neither the claims nor the specification of the ' 349 patent state that a glidant must
             improve flow through specific mechanisms. ('349 patent; Tr. 116: 17- 25).

           5. Remington and Swarbrick are two authorities on pharmaceutical compositions
              cited in the '349 patent specification. ('349 patent at 20:40-49). Remington
              defines glidant as "a substance that improves the flow characteristics of a powder
              mixture." (PTX-572A at 13 of 48). Swarbrick states that "glidant excipients
              improve the flow characteristics of tablet granulations (and capsule powder
              blends)." (PTX-394 at 26 of 69).

           6. The cabozantinib (L)-malate API exhibits poor flow properties. (Tr. 60:16-24,
              89:5- 16; DTX-215 at 34 of 116).

           7. GRASTAR is a starch derivative known as granulated corn starch. (Tr. 86:5-11 ,
              96:6-7).

           8. Glidants are typically added after wet granulation, during the pre-lubrication step.
              (Tr. 83:5- 84:3 , 228:19- 23). MSN adds GRASTAR in its ANDA products during
              the pre-lubrication step, justprior to compression. (Tr. 86:12- 16). Exelixis adds a
              glidant during the pre-lubrication step after wet granulation in manufacturing
              Cabometyx. (Tr. 609:15-2 1, 610:10-23 ). MSN adds GRASTAR in its
              manufacturing process at the same step that glidants are typically added. (Tr.
              104:10- 17, DTX-215 at 97- 98 of 116).

           9. Disintegrants, fillers, and other ingredients can also be added at the pre-
              lubrication stage of manufacturing. (Tr. 142:9- 22, 228:14- 229:10).

           10. MSN adds GRASTAR at a concentration of 9.71 % of the total drug mixture. (Tr.
               105: 18- 21, 201 :21-22). The scientific literature discloses that the typical
               concentration range for a starch glidant is between 1 and 10.0%. (Tr. 97:24- 98:7,
               232:24- 233: 11). 9.71 % is also consistent with what the scientific literature reports
               for potential use of granulated corn starch as a filler in pharmaceutical
               compositions. (Tr. 201:21-202:4, DTX-275 at 754, 790 of945).

           11. MSN submitted a Pharmaceutical Development Report ("PDR") to the FDA.
              (DTX-215). In the Initial Risk Assessment portion of the PDR, MSN includes a
              table of different drug substances. (DTX-215 at 36 of 116). MSN states
              "Granulated Corn Starch is used as a diluent in minimal concentration and it
              enhances the flowability of the granules." (Id.). This type of table is usually
              prepared after the core formulation is identified. (Tr. 91 :9- 25). This assessment is
              usually performed before formulation development starts to direct and prioritize
              evaluating a formulation. (Tr. 227:2- 9).

                                                     8
Case 1:22-cv-00228-RGA       Document 186         Filed 10/15/24       Page 9 of 67 PageID #: 6880




           12. To justify its manufacturing process selection, MSN told the FDA in its PDR that
               the process of choice was wet granulation over direct compression after stating it
               is evident the API exhibits poor flow properties. (DTX-215 at 34 of 116).

           13. In the Formula Optimization Section of PDR, MSN states, "The level of
               Granulated [C]orn Starch plays an important role in flow characteristics." (DTX-
               215 at 58 of 116).

           14. In MSN' s Justification for Microbial Method Validation, MSN wrote "Starch are
               used in pharmaceutical industry for a wide variety of reasons, such as an excipient
               in tablet and capsule as a diluent, as a glidant or as binder." (PTX-724 at 2 of 3,
               Tr. 101:3- 7).

           15 . GRASTAR's manufacturer conducted testing on GRASTAR which showed that
                GRASTAR has better flowability than Japanese Corn Starch. (Tr. 119:25-
                120:15). The testing showed that GRASTAR improved flowability offenofibrate,
                another drug substance, more than Japanese Corn Starch did. (Tr. 119:15-
                121:23). GRASTAR' s manufacturer says that GRASTAR has excellent oral
                disintegration properties, and lists filler as one of the functions of GRAST AR.
                (Tr. 164:1- 18). The manufacturer does not identify GRASTAR as a glidant in any
                literature. (Tr. 164: 16- 18).

           16. MSN told the FDA that GRASTAR improves flow. (FOF ,r,r 12- 15).

           17. The changes to MSN' s excipients during formulation development, including the
               substitution of maize starch B with GRAST AR, were focused on the
               disintegration and dissolution properties of its tablets. (Tr. 210:1- 211 : 16, 212: 1-
               5).

           18. Whether GRASTAR acts as a glidant in a particular pharmaceutical composition
               depends on the pharmaceutical composition. Dr. Koleng concedes that both
               unmodified and pregelatinized starches can serve as fillers in pharmaceutical
               formulations without also being glidants. (Tr. 155:7- 156:15). Dr. ithiyanandam
               testified that whether GRASTAR will actually improve flow depends on the
               specific formulation in which GRASTAR is used. (Tr. 61 :17- 62 :9).

           19. The literature identifies that granulated corn starch is a commonly used glidant.
               (Tr. 95:13- 96:7).

           20. Swarbrick identifies starch and its derivatives as commonly used glidants (Tr.
               95:13- 96:7). Granulated com starch is a starch derivative. (Id.).

           21. The Lachman reference states that starch and starch 1500, which is pregelatinized
               corn starch, are "commonly used glidants." (PTX-553A at 197- 98 of 611 ; Tr.
               96:11- 97:19). Dr. Koleng testified that granulated corn starch is pregelatinized
               corn starch. (Tr. 97:11- 19).



                                                      9
Case 1:22-cv-00228-RGA           Document 186 Filed 10/15/24              Page 10 of 67 PageID #:
                                            6881



            22. MS 'slab notebook data that purportedly shows GRASTAR does not improve
                flow is unreliable. (DTX-196). The Hausner Ratio and Carr Index for the
                GRAST AR batch were incorrectly calculated from the recorded bulk density and
                "tapped density." 6 (Tr. 139:1-141:9). It is unclear if the error was in the recorded
                bulk density and tapped density or the calculated Hausner Ratio and Carr Index.
                (Tr. 107:12-18).

            23. MSN' s ANDA does not infringe Claim 3 of the '349 patent.

            C. Conclusions of Law

                1. Definition of Glidant

        The parties agree that MSN's ANDA Products meet all the claim limitations of Claim 3

other than "comprising .. . one or more glidants." (D.I. 149-1 1165- 70; '349 patent at 34:30-

51). The only disputed issue, therefore, is whether MSN's ANDA Products include a glidant

such that MSN's ANDA Products infringe Claim 3 of the '349 patent.

        The parties dispute the definition of a glidant. Exelixis defines glidant as "a material that

improves the flow of a drug powder mixture." (D.I. 167 at 5). MSN defines glidant as a material

that improves flow of a powder blend through five specific mechanisms: "(1) coating/adherence;

(2) adsorbing fine particles; (3) reducing electrostatic forces; (4) adsorbing environmental gases;

and (5) reducing van der Waals forces. " (D.I. 173 at 4). These are the only two definitions the

parties proposed.

        The parties did not ask me to construe glidant, or any term in the '349 patent. (D.I. 53).

Therefore, "glidant" is given its plain and ordinary meaning. " [T]he ' ordinary meaning' of a



        6
          "Tapped density" is not defined in the trial record. (D.I. 183 at 1). After I issued an oral
order asking the parties if "tapped density" was defined in the record, MSN asked me to take
judicial notice of the US Pharmacopeia' s definitions of "tapped density" and "bulk density."
(D.I. 184 at 1). I decline to do so. It is in my discretion whether to reopen the record. Zenith
Radio Corp. v. Hazeltine Rsch. , 401 U.S. 321 , 331 (1971). The definitions may be subject to
"reasonable dispute" and, indeed, Exelixis has opposed MSN's request. FED. R. Evrn. 201(b);
(D.I. 185 at 1). The definitions are not material to this case or my decision. For these reasons, I
exercise my discretion to decline to reopen the record and take judicial notice of the definitions.
Case 1:22-cv-00228-RGA            Document 186 Filed 10/15/24              Page 11 of 67 PageID #:
                                             6882



claim term is its meaning to the ordinary artisan after reading the entire patent." Phillips v. AWH

Corp., 415 F.3d 1303, 1321 (Fed. Cir. 2005). " [I]ntrinsic evidence is the most significant source

of the legally operative meaning of disputed claim language." Vitronics Corp. v. Conceptronic,

Inc. , 90 F.3d 1576, 1582 (Fed. Cir. 1996).

          I agree with Exelixis that a glidant is "a material that improves the flow of a drug powder

mixture." As Exelixis argues, neither the claims nor specification of the '349 patent state that a

glidant must improve flow through specific mechanisms. Dr. Koleng testified that after

reviewing the patent, he could not find any "mechanism requirement" for something to be a

glidant. (Tr. 116:17- 19). Dr. Koleng further testified that neither Claim 3 of the '349 patent nor

its specification references a particular mechanism for a glidant. (Tr. 116:20- 25). The intrinsic

evidence supports that the definition of a glidant does not need to include the mechanism of

action.

          Exelixis also cites extrinsic evidence to support its definition. The Remington and

Swarbrick references define a glidant as a substance or excipient that improves flow of a powder

mixture or tablet granulations. (Tr. 231: 14- 232 :20).    either reference states that an excipient is a

glidant only if it functions through specified mechanisms. Furthermore, Dr. Donovan, Dr.

Koleng, and Mr. Nithiyanandam all testified that a glidant is a chemical that improves the flow

characteristics of a powder blend. (Tr. 82:9- 11 , 230 :16-19, 60 :2-4).

          MSN presents only extrinsic evidence to support its contention that the definition of a

glidant includes a mechanism of action. But extrinsic evidence is disfavored when intrinsic

evidence is available. Phillips, 415 F.3d at 1317. ("[W]hile extrinsic evidence can shed useful

light on the relevant art, we have explained that it is less significant than the intrinsic record in

determining the legally operative meaning of claim language." (internal citations and quotations



                                                      11
Case 1:22-cv-00228-RGA          Document 186 Filed 10/15/24              Page 12 of 67 PageID #:
                                           6883



omitted)). I do not understand the Lachman reference to disclose that a glidant must use a

particular mechanism. The Lachman reference states only that "the mechanisms of action of a

glidant have been hypothesized," then list several mechanisms. (PTX-553 at 136 of 611). The

only reference MS    cites that indicates glidants function through specific mechanisms is the

Swarbrick reference, which states, "Glidant excipients are usually added to improve flowability

of powder blends and granulations through one or more of several proposed physical

mechanisms [listing mechanisms]." (PTX-394 at 33- 34 of 69). But Swarbrick earlier defines

glidant without reference to mechanisms. (Id. at 26 of 69). Swarbrick' s characterization of the

mechanisms as "proposed" indicates that these mechanisms might not be the complete list of

how a glidant works. MSN' s extrinsic evidence does not persuade me that the definition of a

glidant should include specific mechanisms of action.

       MSN argues that a POSA would not find every material that improves flow to be a

glidant. (D.I. 173 at 15). Dr. Donovan testified that a POSA would not consider every excipient

that has any positive impact on powder flow to be a glidant. (Tr. 198:24- 199:3, 254:19- 255:2).

But in defining glidant, I must consider the extrinsic evidence in the context of the intrinsic

evidence. Phillips, 415 F.3d at 1319. Because the patent does not limit the definition of a glidant

to certain mechanisms, the intrinsic evidence suggests the definition of glidant is broader than

the definition MSN argues the extrinsic evidence advances. "[E]xtrinsic evidence ... may not be

used to vary, contradict, expand, or limit the claim language from how it is defined, even

implicitly, in the specification." Dow Chem. Co. v. Sumitomo Chem. Co., 257 F.3d 1364, 1373

(Fed. Cir. 2001). I am not persuaded by Dr. Donovan' s testimony because the intrinsic evidence

never mentions that glidants use particular mechanisms. I agree with Dr. Koleng, who testified

that any material that improves flow is a glidant. (Tr. 128:21- 24).



                                                     12
Case 1:22-cv-00228-RGA           Document 186 Filed 10/15/24               Page 13 of 67 PageID #:
                                            6884



       MSN argues that a diluent can affect the flow properties of a mixture. I agree, but I do not

think the argument helps MS . An excipient can have multiple functions. (Tr. 77:3- 8, 179:25-

180:4, 247:12- 13). For example, an excipient can be both a glidant and a diluent. (Tr. 77:3- 8,

93:2- 6, 247:12- 22). If an excipient is a diluent, that does not mean it is not also a glidant.

       MSN argues that defining glidant as any material that improves flow is too broad because

then "at least half- if not all" excipients that are added to a poorly flowing mixture would be a

glidant. (D.I. 173 at 17). MSN does not cite to any evidence in the record in support of the "at

least half- if not all" argument. (Id.) . I therefore disregard this argument.

       I define glidant as "a material that improves the flow of a drug powder mixture."

               2. Direct Infringement

       With this definition of glidant in mind, I now turn to the evidence presented regarding

whether the ANDA product has a glidant. The dispute concerns GRAST AR, which is added to

the ANDA product at the pre-lubrication step. (FOF ~ 8). Exelixis argues GRASTAR is a

glidant, whereas MSN argues GRASTAR is a diluent, not a glidant. (D.I 167 at 6, D.I. 173 at

11-12). Because an excipient can be both a glidant and a diluent, I do not consider persuasive

MSN' s arguments that GRASTAR is a diluent. And since I have defined glidant as "a material

that improves the flow of a drug powder mixture," I focus my analysis on arguments relating to

whether GRASTAR improves flow of the drug powder mixture.

       MSN presented data from a laboratory notebook that purportedly shows that GRASTAR

does not improve flow. (D.I. 173 at 8). MSN argues that therefore, GRAST AR is not a glidant.

(Id.). The experiment in the laboratory notebook tested which of two different formulations of

the cabozantinib API had better flow. (DTX-196 at 46, 84 of 175). The two formulations were

the same, except that one formulation (Batch 252/023) included 30 mg/unit of GRASTAR and



                                                      13
Case 1:22-cv-00228-RGA           Document 186 Filed 10/15/24              Page 14 of 67 PageID #:
                                            6885



the other (Batch 252/044) included 30 mg/unit of unmodified corn starch. (Tr. 134:11-21 ,

135:19- 136:6, 210:1- 21). The notebook contained experimentally determined values for bulk

density and tapped density for each batch. (Tr. 13 5: 15- 13 7: 1). From the bulk density and tapped

density, the Hausner Ratio and Carr Index, two numerical values that characterize powder flow,

were calculated. (Id.). I disregard this data because, for two reasons, I find it unreliable.

       First, there was an error in the laboratory notebook that makes the data unreliable. Dr.

Koleng testified that the Hausner Ratio and Carr Index for the GRASTAR batch were incorrectly

calculated from the recorded bulk density and tapped density. (Tr. 139:1-141:4). The parties

agree that the correctly calculated Hausner Ratio and Carr Index, from the recorded bulk density

and tapped density, would indicate that GRASTAR decreases flow. (Tr. 139:19- 140:9; D.I. 173

at 10). MSN would have me disregard the computational error and use the correctly calculated

Hausner ratio and Carr Index to conclude that GRASTAR does not improve the flow of the

cabozantinib APL I agree, however, with Exelixis that the error puts into question the validity of

the whole experiment. It is unclear whether the recorded bulk density and tapped density are

correct, or whether the Hausner Ratio and Carr Index were correct but the bulk and tapped

density were recorded incorrectly. While MSN assumes the recorded densities are correct,

neither party introduced evidence of the origin of the error. Dr. Koleng disregarded the totality of

the laboratory notebook because he found "[t]he source ofth[e] disparity could not be identified

within the context of the documents provided." (Tr. 107: 16- 18). I agree that the lab notebook

should not be taken into consideration. See Forest Lab 'ys, LLC v. Sigmapharm Lab ys, LLC,

2018 WL 6011697, at *9 (D. Del. Nov. 15, 2018) (giving little weight to a set ofresults because

the laboratory notebook documenting the test offered insufficient detail); In re Johnson &

Johnson Talcum Powder Prod. Mktg. , Sales Pracs. & Prod. Litig. , 509 F. Supp. 3d 116, 147



                                                      14
Case 1:22-cv-00228-RGA          Document 186 Filed 10/15/24              Page 15 of 67 PageID #:
                                           6886



(D.N.J. 2020) (stating that computation errors in a lab notebook may impact the weight that a

factfinder gives to the lab notebook).

       Second, I do not think the lab notebook shows what it sets out to show: that GRAST AR

does not improve flow and therefore is not a glidant. At trial, I asked counsel for MSN what is

shown by comparing the flow of two formulations with two purported glidants. (Tr. 1046:3- 7). I

thought then, as I do now, that the relevant testing would have been comparing the flow

properties of a formulation with GRASTAR and a formulation without GRAST AR. (Tr.

1046:15- 17). The only information to take away from the lab notebook, ifI accept the corrected

Hausner ratio and Carr Index, is that corn starch improves flow more than GRASTAR does. (Tr.

1046:3- 7). But this does not eliminate the possibility that GRASTAR is also a glidant, albeit a

worse one than unmodified corn starch.

       MSN argues that Dr. Koleng relied on the MS        lab notebook to opine that GRASTAR is

a glidant when he thought the batch with GRAST AR had a lower Hausner Ratio and Carr Index,

thus indicating GRASTAR improved flow. (D.I. 173 at 11). MSN argues that Dr. Koleng cannot

now disregard the lab notebook data he was willing to use when it supported his conclusion that

GRAST AR is a glidant. (Id.) . But Dr. Koleng was relying on the lab notebook only at the time

when he thought the underlying data was accurate. (Tr. 135:1- 18). When notified that there were

errors, Dr. Koleng disregarded the lab notebook. (Tr. 107: 16- 18).

       Exelixis presents two arguments for why GRAST AR is a glidant. First, Exelixis argues

that GRASTAR is a glidant because it is added at the same time and concentration (9.71 %) that a

glidant would be added in manufacturing. (D.I. 167 at 7- 8). GRASTAR is added at the pre-

lubrication step. (Id.). The literature confirms that this is the step when glidants are added and is

the same step when Exelixis adds its glidant in its manufacturing process. (Tr. 83 :23- 84:3). But



                                                     15
Case 1:22-cv-00228-RGA             Document 186 Filed 10/15/24              Page 16 of 67 PageID #:
                                              6887



Dr. Donovan and Dr. Koleng testified that other excipients, such as disintegrants and fillers , can

also be added at the pre-lubrication step. (Tr. 142:9- 22, 228: 14- 229:10). Dr. Donovan testified

that a concentration of GRASTAR of 9.71 % is consistent with the use of GRASTAR as a filler.

(Tr. 201 :21- 202:4). Because MSN has shown that other excipients could be added at the pre-

lubrication step and at a concentration of 9. 71 %, this evidence does not show that GRASTAR is

a glidant.

           Second, Exelixis cites several statements that GRAST AR improves flow to argue it is a

glidant.

              •   Exelixis argues that because MSN told the FDA that GRAST AR improves flow,

                  it is a glidant. (D.I. 167 at 8). Specifically, MSN told the FDA in its Initial Risk

                  Assessment that granulated com starch enhances the flowability of the granules.

                  MSN argues that this statement is out of context. (Id. at 9). Dr. Donovan testified

                  that the Initial Risk Assessment is usually performed before formulation

                  development starts to direct and prioritize evaluating a formulation. (Tr. 227:2-9).

                  Therefore, MSN argues, there is no experimental evidence that GRASTAR

                  improved flow in the final formulation. (D.I. 173 at 7). Dr. Nithiyanandam

                  testified that this was written based on the scientific literature before formulation

                  development trials started. (Tr. 61: 17- 62:2). Dr. Nithiyanandam also testified that

                  whether GRASTAR will actually improve flow depends on the specific

                  formulation in which GRASTAR is used. (Tr. 62:4- 9). I am persuaded by Dr.

                  Nithiyanandam' s testimony and agree that MSN' s statement to the FDA does not

                  establish that GRASTAR improves flow in MSN's formulation.




                                                        16
Case 1:22-cv-00228-RGA          Document 186 Filed 10/15/24             Page 17 of 67 PageID #:
                                           6888



           •   MSN told the FDA that the level of granulated corn starch plays an important role

               in flow characteristics. (D.I. 167 at 8-9). Dr. Nithiyanandam testified that the

               context of this statement was testing dissolution profiles of cabozantinib tablets

               with different weight percentages of granulated corn starch. (Tr. 63: 15-64:5). Dr.

               Nithiyanandam explained that the statement was based more on the dissolution

               profile of granulated corn starch rather than the flow properties of granulated corn

               starch. (Id.). Dr. Donovan explained that no flow testing was conducted in support

               of the statement. (Tr. 214:25- 215:8). I am persuaded that the statement does not

               establish that GRASTAR improves flow in MSN' s formulation.

           •   Exelixis cites Swarbrick and Lachman as identifying granulated corn starch as a

               commonly used glidant. (D.I. 167 at 11).

           •   Exelixis points to testing by GRASTAR's manufacturer. (D.I. 167 at 10). The

               manufacturer concluded that GRAST AR has better flowability than Japanese corn

               starch when both were tested using fenofibrate as the drug substance. (Id.).

           •   Dr. Donovan testified that GRAST AR would "be expected, even before

               experiments, to potentially enhance the flowability of the granules." (Tr. 237:7-

               9).

          •    Dr. Donovan testified that GRAST AR "had good flow properties so it would be

               expected that the addition of GRASTAR could improve the flow properties." (Tr.

               217:21- 23).

       The statements show that GRASTAR can be used as a glidant, because they show that

GRASTAR does improve flow in some contexts. For example, GRASTAR improves the flow of

fenofibrate. (Tr. 120:12-15). And I am persuaded that the literature explains that GRASTAR is a


                                                    17
Case 1:22-cv-00228-RGA           Document 186 Filed 10/15/24             Page 18 of 67 PageID #:
                                            6889



commonly used glidant. But there is no evidence that GRAST AR improves the flow of the API

in this formulation. A glidant is "a material that improves the flow of a drug powder mixture."

But if GRAST AR is not improving the flow of this powder mixture, then it is not acting as a

glidant in MSN' s ANDA Product. Whether GRASTAR acts as a glidant in a particular

pharmaceutical composition depends on the pharmaceutical composition.

        The statements Exelixis cites, including the statements made to the FDA, do not pertain

to MSN's pharmaceutical composition. The only evidence somewhat relating to MSN's

pharmaceutical composition is that Dr. Donovan testified that GRAST AR would "be expected,

even before experiments, to potentially enhance the flowability of the granules." (Tr. 237:7- 9)

(emphasis added) .

       Exelixis argues that it does not need to present direct evidence of testing to prove

infringement. (D.I. 178 at 5). I take Exelixis to be arguing that Exelixis does not need to present

experimental evidence that GRASTAR improved flow in MSN's ANDA product. Exelixis cites

to CR Bard Inc. v. AngioDynamics, Inc., 979 F.3d 1372, 1379 (Fed. Cir. 2020). I find Bard

instructive. There, the Federal Circuit held that, on a motion for judgment as a matter of law, the

plaintiff did not need to test the defendant' s product to show that it infringed but could rely on

the defendant's "statements to the FDA regarding the product' s capabilities." Id. at 1378- 79. The

Federal Circuit held that "statements regarding the capabilities of [the defendant' s] own product

constituted substantial evidence of those capabilities." Id. at 1379. To be sure, the standard for

JMOL, substantial evidence, is harder to meet than the preponderance standard for infringement.

But here, the evidence is slight. MSN did not present statements to the FDA regarding its

product's capabilities. I cannot find that Exelixis met its burden based on Dr. Donovan's one

equivocal statement about "potential" enhancement.



                                                     18
Case 1:22-cv-00228-RGA           Document 186 Filed 10/15/24             Page 19 of 67 PageID #:
                                            6890



        Exelixis has not met its burden to show there is a glidant in MSN's ANDA products,

because it did not show by a preponderance of the evidence that GRASTAR is improving flow in

MSN's ANDA products. I find MSN did not directly infringe the '349 patent.

               3. Induced Infringement

       Because I have found that Exelixis did not prove direct infringement of the '349 patent, it

follows that Exelixis did not prove any indirect infringement of the '349 patent. See Meyer Intel!.

Props. Ltd. v. Bodum, Inc., 690 F.3d 1354, 1366 (Fed. Cir. 2012) ("It is well-established that a

finding of direct infringement is a prerequisite to a finding of inducement.").

IV.    INVALIDITY

       The parties dispute whether Claim 3 of the ' 349 patent is invalid for obviousness.

       The parties dispute whether the asserted claims of the Malate Salt Patents are invalid for

written description and obviousness-type double patenting. The Malate Salt Patents share a

common specification. (D.I. 124 ,r 33). The three asserted claims of the Malate Salt Patents (and

the claims from which they depend) are reproduced below:

        1. N-( 4-{ [6,7-bis(methyloxy)quinolin-4-yl]oxy }phenyl)-N' -(4-fluorophenyl)
           cyclopropane-1 , 1-dicarboxarnide, malate salt, wherein said salt is crystalline.

('439 patent at 32:22- 24).

       3. The                  -(4-{ [6, 7-bis(methyloxy)quinolin-4-yl]oxy }phenyl)-N' -(4-
          fluorophenyl) cyclopropane-1 , 1-dicarboxamide, malate salt according to claim
          1, wherein said salt is the (L)-malate salt or (D)-malate salt.

('439 patent at 32:29- 32).

       4. The N-(4-{ [6,7-bis(methyloxy)quinolin-4-yl]oxy }phenyl)-N' -(4-fluorophenyl)
          cyclopropane-1 ,1-dicarboxarnide, malate salt according to claim 3, wherein
          said salt is the (L)-malate salt.

('439 patent at 32:33- 36).




                                                     19
Case 1:22-cv-00228-RGA           Document 186 Filed 10/15/24              Page 20 of 67 PageID #:
                                            6891



        3. A      pharmaceutical     compos1t10n       compnsmg         the     N-(4-{[6,7-
           bis(methy loxy)quinolin-4-y l]oxy} pheny 1)- ' -(4-fluoropheny 1) cyclopropane-
           1, 1-dicarboxamide, malate salt, wherein said salt is the (L)-malate salt or (D)-
           malate salt and wherein said salt is crystalline; and a pharmaceutically
           acceptable excipient.

(' 440 patent at 32: 16-21 ).

        1. A method of treating cancer, comprising administering to a subject in need
           thereof            N-( 4-{ [6,7-bis(methyloxy)quinolin-4-yl]oxy }phenyl)-N' -(4-
           fluorophenyl) cyclopropane-1, 1-dicarboxamide, malate salt, wherein said salt
           is the (L)-malate salt or the (D)-malate salt, and wherein said salt is crystalline.

('015 patent at 32:5- 10).

        2. A method of treating cancer, comprising administering to a subject in need
           thereof           N-( 4-{ [6,7-bis(methyloxy)quinolin-4-yl]oxy }phenyl)-N' -(4-
           fluorophenyl) cyclopropane-1, 1-dicarboxamide, malate salt, wherein said salt
           is the (L)-malate salt or the (D)-malate salt, said salt is crystalline, and said
           cancer is kidney cancer.

('015 patent at 32: 11-16).

 V.     WRITTEN DESCRIPTION

        MSN argues that the Malate Salt Patents are invalid for lack of written description. (D.I.

169 at 5). Exelixis argues that the Malate Salt Patents have adequate written description. (D.I.

175 at 4).

             A. Findings of Fact

              1. Crystalline is used as an adjective to describe that the cabozantinib (L)-malate
                 has a "regular repeating underlying arrangement of molecules." (Tr. 53 7 :22-
                 25).

              2. Solid matter can exist as amorphous or crystalline material. (Tr. 846:4-19).
                 Amorphous material is not crystalline. (Tr. 535:16- 19, 846:4- 19, 853:7-15). A
                 POSA could distinguish between crystalline and amorphous cabozantinib. (Tr.
                 542:10- 25, 846:4-19, 856:6- 24, 866:10- 867:3).

              3. A salt cannot be crystalline without existing in a specific crystalline form (Tr.
                 440:21-22, 560:13- 19).

              4. "[A]ll crystalline cabozantinib (L)-malate salts fall within [the] scope" of the
                 asserted claims. (Tr. 558:5- 6).

                                                     20
Case 1:22-cv-00228-RGA           Document 186 Filed 10/15/24             Page 21 of 67 PageID #:
                                            6892



             5. The maximum potential size of any pure polymorph genus is fourteen forms.
                (Tr. 547:2- 5).

             6. There are three identified species in the genus of crystalline cabozantinib (L)-
                malate. These are Exelixis' N-1 and N-2 and MSN's form S. (Tr. 455:5:24).
                There may be up to seven additional identified species in the genus of
                crystalline cabozantinib (L)-malate salts. These are Mylan' s M-2, M-3, and M-4
                and Cipla's C-2, C-3, C-4, and C-5. (Tr. 455:5-456:12). There may be one
                identified primarily-amorphous species of cabozantinib (L)-malate: Mylan' s
                form M-1. (Tr. 865:6- 866:1).

             7. The specification discloses structural features shared by all crystalline
                cabozantinib (L)-malate, including chemical name, formula, and structure. ('439
                patent at Abstract, 1:26- 39, 2:58- 3:12, 5:25-6:67; Tr. 866:10- 867:3). The
                specification disclosed two methods of preparation for crystalline cabozantinib
                (L)-malate, namely, methods of preparing the N-1 and N-2 form. ('439 patent at
                18:59- 23:60, Tr. 539:10- 25).

             8. The Malate Salt Patent inventors did not invent any crystalline form of
                cabozantinib (L)-malate other than Forms N-1 and N-2. (Tr. 902:11 - 18).

             9. The word "form" does not appear in the asserted claims of the Malate Salt
                Patents. (Tr. 854:22- 25).

             10. MSN has not proved by clear and convincing evidence that the Malate Salt
                 Patents lack sufficient written description.

           B. Legal Conclusions

               1. Genus

       As an initial matter, the parties dispute whether the Malate Salt Patents claim a genus of

crystalline cabozantinib (L)-malate. MSN contends they do. (D.I. 169 at 4- 5). Exelixis argues

that the Malate Salt Patents do not claim a genus of crystalline cabozantinib (L)-malate. (D.I. 175

at 1). The parties dispute the size of the genus. Exelixis contends the genus consists of three

species, whereas MSN argues the genus is eleven species. 7 (D.I. 169 at 8; D.I. 175 at 4- 5).




       7
         I do not determine the size of the genus because, as explained in the analysis, it does not
need to be resolved.
                                                    21
Case 1:22-cv-00228-RGA           Document 186 Filed 10/15/24              Page 22 of 67 PageID #:
                                            6893



       Exelixis presents three arguments for why the claims do not claim a genus of

polymorphic forms of crystalline cabozantinib (L)-malate. First, Exelixis argues that

"crystalline" is used as an adjective to describe that the cabozantinib (L)-malate has a "regular

repeating underlying arrangement of molecules." (Tr. 537:22- 25; D.I. 175 at 10- 11). Exelixis

does not explain why the use of crystalline as an adjective means the patents do not claim the

genus of crystalline cabozantinib (L)-malate. I therefore reject this argument.

       Second, Exelixis argues that because the word "form" is not used in the asserted claims,

"crystalline" refers to the property of crystallinity, not to specific polymorphic forms. (D.I. 175

at 11). But a salt cannot be crystalline without existing in a specific crystalline form. (Tr.

440:21- 22, 560:13- 19). The two go hand-in-hand. The claims may not use the word form, but

this does not change that using the term "crystalline" means what is claimed is all the "particular

polymorph[s]" or "repeating pattem[s]" of the cabozantinib (L)-malate. (Tr. 852:6-7). I therefore

reject this argument.

       Third, Exelixis argues that because the specification states that N-1 and N-2 are separate

disclosures, the Malate Salt Patents do not claim a genus of crystalline polymorphic forms. (D.I.

175 at 11- 12, Tr. 851 :21- 852: 16). But what is claimed by a patent reciting "crystalline

cabozantinib (L)-malate [i.e., Compound (I)]" if not the genus of crystalline cabozantinib (L)-

malate? (Tr. 851:21- 852:16). Exelixis does not ask me to limit the claims directed to crystalline

cabozantinib (L)-malate to only forms N-1 and N-2. That Exelixis characterizes         -1 and N-2 as

separate disclosures does not change that crystalline cabozantinib (L)-malate is the genus.

       A genus claim is a "claim[] covering a class of entities characterized by a common

property." Jeffrey A. Lefstin, The Formal Structure of Patent Law and the Limits of Enablement,

23 BERKELEY TECH. L.J. 1141 , 1168 (2008). Dr. Steed testified that "all crystalline cabozantinib



                                                      22
Case 1:22-cv-00228-RGA            Document 186 Filed 10/15/24             Page 23 of 67 PageID #:
                                             6894



(L)-malate salts fall within [the] scope" of the asserted claims. (Tr. 558:5- 6). I agree. The claims

at issue are genus claims, covering the genus of cabozantinb (L)-malate salts that are

characterized by the common property of being crystalline.

                2. Analysis

        I turn to the question of whether the asserted claims have adequate written description.
                                                                          \
The parties agree that Exelixis possessed at least two species in the genus of crystalline

cabozantinib L malate: N-1 and N-2. (D.I. 169 at 1). N-1 and N-2 are the only forms disclosed in

the specification. (Tr. 902 :11- 18).

        Exelixis can satisfy the written description requirement in one of two ways. First, forms

N-1 and N-2 could be a "representative number of species falling within the scope of the genus."

Ariad, 598 F.3d at 1350. Second, the specification could disclose "structural features common to

the members of the genus so that one of skill in the art can visualize or recognize the members of

the genus." Id. (internal citations and quotations omitted). I find that Exelixis satisfies the written

description requirement the second way.

       I agree with Exelixis that GlaxoSmithKline LLC v. Banner Pharmacaps, Inc. , 744 F.3d

725 (Fed. Cir. 2014) [hereinafter GSK] is instructive. In GSK, the Federal Circuit held that the

claims to solvates of dutasteride were adequately described by the patent. Id. at 729. The court

held, "Describing a complex of dutasteride and solvent molecules is an identification of

structural features commonly possessed by members of the genus that distinguish them from

others, allowing one of skill in the art to visualize or recognize the identity of the members of the

genus. " Id. at 730 (cleaned up). The Federal Circuit explained that dutasteride was the key

structural component of the solvate complex, and that the description was further narrowed by

the requirement that the structure must result from one or any of three processes: reaction,



                                                      23
Case 1:22-cv-00228-RGA            Document 186 Filed 10/15/24               Page 24 of 67 PageID #:
                                             6895



precipitation, or crystallization. Id. Critical to the Federal Circuit's finding was that "the claim

term at issue, 'solvate,' is not functional. " Id. at 731 . The written description for "solvate" thus

did not need to meet the more rigorous requirements for written description in support of

functional claim language. Id.

        Here, the claims are directed to crystalline cabozantinib (L)-malate salts. Disclosing the

chemical name and formula of cabozantinib (L)-malate, as well as that the structure is

crystalline, is "an identification of structural features commonly possessed by members of the

genus." Id. at 730. The specification also discloses processes used to make the invention. The

specification discloses general methods of forming a crystalline salt. ('439 patent at 17:10-

18:57). And the specification discloses two methods of preparation for crystalline cabozantinib

(L)-malate, namely, methods of preparing the N-1 and N-2 form. ('439 patent at 18:59- 23:60,

Tr. 539:16- 25).

       As in GSK, the limitation at issue here is structural, not functional. Neither party disputes

that crystalline is a structural limitation. Although there are different crystalline polymorphs of

cabozantinib (L)-malate, the claims "involve[] no performance property . . . and hence raises no

issue of insufficient structural, creation-process, or other descriptions to support such a

property." GSK, 744 F.3d at 729- 30.

       Merck is another example in which a court found claims with no functional limitations to

be adequately described. Merck Sharp & Dahme, LLC v. Mylan Pharms. Inc. , 2022 WL

22855168 (N.D. W.Va. Oct. 26, 2022). "[T]he asserted claims cover[ed] a genus of all forms of

the 1-to-1 DHP salt of sitagliptin, including hydrates." Id. at *36. At issue was whether Merck

possessed the genus of all hydrates of the 1-to-1 DHP salt of sitagliptin, because Merck only

possessed and disclosed one species along with its chemical formula and structure. Id. However,



                                                      24
Case 1:22-cv-00228-RGA            Document 186 Filed 10/15/24               Page 25 of 67 PageID #:
                                             6896



the court found there was adequate written description because the "key structural feature of

th[e] genus is its unique chemical formula, or structure." Id. The court concluded it "need not

address whether Merck also disclosed a representative number of species" since it found

adequate written description satisfied by Merck disclosing the key features of the genus. Id. at

*37.

        Here too, the key feature of the genus is the chemical formula and structure of crystalline

cabozantinib (L)-malate. All crystalline cabozantinib malate share the same chemical name and

formula. (Tr. 558:24- 559:3). A POSA would be able to identify whether the structure of a

polymorph is crystalline. (Tr. 542:10-25, 846:4- 19, 856:6- 24, 866:10- 867:3). And a POSA

could distinguish between crystalline and amorphous cabozantinib. (Tr. 542: 10- 25, 846:4- 19,

856:6-24, 866: 10- 867:3). This evidence was sufficient for the court in Merck to find adequate

written description, and I find it is sufficient here. 8 Since this evidence is sufficient to satisfy

written description, I need not determine the size of the genus and whether Exelixis disclosed a

representative number of species.

        MSN argues that N-1 and N-2 have different crystal structures and physico-chemical

properties than the other reported forms. (D.I. 169 at 8). MSN contends that crystalline forms

generally have "different densities, melting points, solubilities, hygroscopicity, vapor pressure,

and stability." (Id.). MSN argues that the properties of one crystalline form cannot be used to




        8
        The Merck court cited expert testimony at trial to explain why the key feature of the
genus was the chemical formula or structure. Merck, 2022 WL 22855168, at *36. The court cited
testimony that "every form of the DHP salt of sitagliptin, whether hydrous or anhydrous, shares
the common chemical formula disclosed in the ... patent." Id. The court further cited expert
testimony, "Based on this chemical structure, a POSA using routine techniques would be able to
recognize any form of the l-to-1 DHP salt of sitagliptin and distinguish it from other
compounds." Id.


                                                       25
Case 1:22-cv-00228-RGA            Document 186 Filed 10/15/24              Page 26 of 67 PageID #:
                                             6897



predict the properties of a different form. (Id.). MSN contends that the properties of the known

crystalline forms of cabozantinib (L)-malate differ. (Id.). MSN argues that these differences

mean N-1 and N-2 are not representative of the genus, and thus Exelixis cannot meet the written

description requirement by disclosing common structural features that are shared by N-1,          -2,

and the rest of the genus. (Id. at 8-9).

       The problem with MSN' s argument is that MSN does not explain why these differences

in physico-chemical properties and structure mean N-1 and N-2 are so different from other forms

that they are unrepresentative. For example, in Abb Vie Deutsch/and GmbH & Co. v. Janssen

Biotech, Inc., 759 F.3d 1285, 1291 (Fed. Cir. 2014), the patents in question were directed to

human antibodies that help treat psoriasis and rheumatoid arthritis by binding to a particular type

of antigen. The Federal Circuit held that the jury heard ample evidence to conclude that the

patents were invalid for lack of written description because they "only describe one type of

structurally similar anti-bodies and .. . those antibodies are not representative of the full variety

or scope of the genus." Id. at 1300. Defendant's invention fell within the scope of the claimed

genus but shared only a "50% sequence similarity" with the claimed antibodies. Id. In finding

that the claimed antibodies are not representative of the genus, the Federal Circuit cited expert

testimony that "antibodies with 80% sequence similarity [to the disclosed antibody] could bind

to completely different antigens," highlighting the "significant structural differences" of the

antibodies and "unpredictability of the field of invention." Id. Here, MSN baldly asserts there are

differences between N-1, N-2, and the rest of the genus without giving me a framework to

evaluate such differences. I reject this argument.




                                                     26
Case 1:22-cv-00228-RGA           Document 186 Filed 10/15/24              Page 27 of 67 PageID #:
                                            6898



        MSN also cites three cases in which the Federal Circuit found inadequate written

description for genus claims and argues that the claims here are analogous. (D.I. 169 at 4, 6, 11).

I now explain why the three cases are not applicable.

       First, MS    cites ICU Medical, Inc. v. Alaris Medical Systems, Inc. , 558 F.3d 1368 (Fed.

Cir. 2009). In ICU, the asserted claims were directed to "medical valves used in the transmission

of fluids to or from a medical patient." Id. at 1372. The Federal Circuit held that because the

specification described only medical valves with spikes, a POSA would not understand the

inventor to have invented a "spikeless" medical valve. Id. at 1378. MSN argues that there is

inadequate written description because a POSA would not know from the specification "what

other forms of crystalline cabozantinib (L)-malate existed, how to make those forms, what the

crystal structure of such other forms might be, or what properties each unknown form would

have." (D.I. 169 at 7).

       As I have discussed above with regard to the GSK and Merck cases, I do not think that

what MSN alleges a POSA would not know from the specification establishes lack of written

description. Furthermore, ICU is inapposite because in that case the spike limitation was

functional. ICU, 558 F.3d at 1375-76. The district court construed it in relevant part as "having a

pointed tip for piercing the seal," and the Federal Circuit affirmed this construction. Id. at 1376.

Functional claim limitations require more disclosure to meet the written description

requirement. 9 That is not the case here, because there are no functional limitations. A POSA



       9
         See, e.g. , AbbVie, 759 F.3d at 1301 ("Functionally defined genus claims can be
inherently vulnerable to invalidity challenge for lack of written description support, especially in
technology fields that are highly unpredictable, where it is difficult to establish a correlation
between structure and function for the whole genus or to predict what would be covered by the
functionally claimed genus.").



                                                     27
Case 1:22-cv-00228-RGA           Document 186 Filed 10/15/24             Page 28 of 67 PageID #:
                                            6899



would understand the inventor to have invented all malate salts of cabozantinib that are

crystalline and have the disclosed chemical name and formula.

         Second, MSN cites In re Entresto (Sacubitril/ Valsartan) Patent Litigation, 2023 WL

4405464 (D. Del. July 7, 2023), appeal docketed, No. 23-2218 (Fed. Cir.) (scheduled for oral

argument on November 13, 2024). The asserted claims covered "valsartan and sacubitril as a

physical combination and as a complex." Id. at* 17. Because complexes were unknown to a

POSA as of the priority date, I found that the inventors could not have possessed complexes of

valsartan and sacubitril and held the claims invalid for lack of written description. Id. at *22.

MSN analogizes to Entresto to argue that here, the POSA could not have predicted that there

were other forms of cabozantinib (L)-malate in the genus, nor could a POSA predict what

polymorph would be obtained before testing. (D.I. 169 at 9- 11).

         Entresto is distinguishable. I do not think Entresto stands for the proposition that a POSA

must be able to predict every species in the genus, as MSN argues. In Entresto, a POSA would

not have known that complexes existed. Here, a POSA would know polymorphic forms of

crystalline cabozantinib (L )-malate existed- because Exelixis disclosed two such forms, N-1 and

N-2, in the specification. ('439 patent at 18:59- 23:60). A POSA must be able to "visualize or

recognize the identity of the members of the genus." Regents of the Univ. of Cal. v. Eli Lilly &

Co., 119 F.3d 1559, 1568 (Fed. Cir. 1997). A POSA would recognize members of the genus by

their chemical name and crystalline structure, features that are common to all species in the

genus.

         Third, MSN cites Allergan USA, Inc. v. MSN Laboratories Private Limited, 694 F. Supp.

3d 511 (D. Del. 2023). That case is no longer good law; after the briefing in this case, it was




                                                     28
Case 1:22-cv-00228-RGA           Document 186 Filed 10/15/24             Page 29 of 67 PageID #:
                                            6900



reversed by the Federal Circuit. Allergan USA, Inc. v. MSN Lab'ys Priv. Ltd. , 111 F.4th 1358

(Fed. Cir. 2024). I therefore do not address MSN's arguments based on Allergan.

       For the reasons stated above, MS     has not met its burden to show by clear and

convincing evidence that Exelixis has not adequately described the asserted claims. The asserted

claims of the Malate Salt Patents are not invalid for lack of written description.

VI.    OBVIOUS ESS-TYPE DOUBLE PATENTING

           A. Findings of Fact

             1. U.S. Patent No. 7,579,473 ("the ' 473 patent") issued on August 25, 2009, and is
                assigned to Exelixis. (DTX-013 ; Tr. 468 :6- 11). It expires in 2026. (Tr. 468:23-
                24).

             2. Claim 5 of the '473 patent is:

                 The compound which~; ~ ~ ~ w ing structure:


                                     ~            o        o   lA
                       /OXX)~                                        F


                       '----o I .,,,,,,,"" N ~
                 or a pharmaceutically acceptable salt thereof.

             3. Crystalline (L)-malate is a pharmaceutically acceptable salt of cabozantinib. (Tr.
                469:24--470 :1, 831:9- 12, 926:21- 927 :9).

             4. Half of all drug products have APis in salt form. (Tr. 432:25--433 :2). The prior
                art taught salt formation was a way to improve properties of the APL (Tr.
                432:2--433:2). A POSA would want to pursue a salt of cabozantinib (L)-malate
                to improve its solubility. (Tr. 501 :4- 6).

             5. A POSA would be motivated to form a crystalline salt. (Tr. 441:15- 23). A
                POSA would be motivated to form a salt of cabozantinib.

             6. By 2009, salt screening was a known technique used to identify potential salt
                forms of a drug substance. (Tr. 827:11 - 16).

             7. The pKa of a compound is an inherent property of the compound. (Tr. 436:20-
                21). It indicates how strong its propensity is to form a salt. (Tr. 436:15- 21).



                                                      29
Case 1:22-cv-00228-RGA           Document 186 Filed 10/15/24             Page 30 of 67 PageID #:
                                            6901



              8. A POSA would determine the pKa of the cabozantinib base. It would take a
                 couple weeks to determine the pKa of a base. (Tr. 838:2-24).

              9. A POSA would use the decision tree outlined in the Bighley reference to
                 conduct the salt screen. (Tr. 813:7- 814:16). A POSA would start by testing
                 hydrochloric acid, then turn to inorganic acids, and then turn to strong organic
                 acids. (Tr. 814:3- 817:13) . A POSA would not try organic acids unless the
                 inorganic acids did not form an acceptable salt. (Tr. 816:18- 817:3).

              10. A POSA would use Tong's Rule of 2 to narrow the list of counterions. Tong
                  teaches that to form a salt, the "pKa of the acid should be at least 2 pH units
                  lower than the pKa of the compound," which ensures that the counterion is
                  strong enough to transfer a hydrogen ion to the base, resulting in the formation
                  of a salt. (DTX-243; Tr. 437:3- 12). Dr. Trout agreed this "Rule of 2" was a
                  "well-known rule of thumb." (Tr. 931 :20-25). Pharmorphix, a company that
                  conducted a salt screen for Exelixis, reported that Pharmorphix used the Rule of
                  2. (Tr. 622:2-624:21).

              11. A POSA would not be motivated to use malic acid as a counterion. (FOF ,r,r 9-
                  10).

              12. A POSA would not have a reasonable expectation of success in forming a
                  crystalline salt of cabozantinib (L)-malate. There is no way of predicting
                  whether a crystalline salt will form. (Tr. 884:1- 19).

              13. It was unexpected that crystalline cabozantinib (L)-malate displayed the best
                  properties out of all the salts Exelixis evaluated. (Tr. 889: 1- 10).

              14. It was unexpected that crystalline cabozantinib (L)-malate dissolved faster than
                  amorphous cabozantinib (L)-malate. (Tr. 889:11- 16, 891:1- 9; PTX-225 at 5- 8
                  of9).

              15. It was unexpected that crystalline cabozantinib (L)-malate displayed a fast
                  dissolution profile given its low water solubility. (Tr. 891: 1- 19).

             B. Legal Conclusions

       MSN argues that Claim 4 of the '439 patent is invalid for obviousness-type double

patenting of Claim 5 of the '473 patent. (D.I. 169 at 12). Claim 5 of the '473 patent covers the

cabozantinib compound and "pharmaceutically acceptable salts thereof." ('473 patent at 412:24-

51). Claim 4 of the '439 patent covers the crystalline cabozantinib (L)-malate salt. ('439 patent at

32:33-36).



                                                    30
Case 1:22-cv-00228-RGA            Document 186 Filed 10/15/24             Page 31 of 67 PageID #:
                                             6902



               1. Step One

       The first step of the obviousness-type double patenting analysis is to construe the asserted

claims of the earlier and later-issued patents and determine whether there are differences. Eli

Lilly & Co. v. Barr Lab 'ys, Inc., 251 F.3d 955 , 968 (Fed. Cir. 2001).

       Here, the issue to be resolved at step one is whether a POSA would have recognized that

crystalline cabozantinib (L)-malate is a pharmaceutically acceptable salt of the cabozantinib

compound. MSN argues that a POSA would recognize that crystalline cabozantinib (L)-malate is

a pharmaceutically acceptable salt of cabozantinib. (D.I. 169 at 12). MSN cites Dr. Steed, Dr.

Koleng, and Dr. Trout's testimony that crystalline (L)-malate is a pharmaceutically acceptable

salt of cabozantinib. (D.I. 169 at 15- 16, 34- 35).

       Exelixis contends that neither the specification of the Malate Salt Patents nor the

specification of the '473 patent mention malic acid. (D.I. 175 at 21-22). Exelixis argues that a

POSA would not know that crystalline cabozantinib (L)-malate is a pharmaceutically acceptable

salt of cabozantinib. (D.I. 175 at 22-23).

       I think Exelixis ' arguments are more appropriate for step two of the obviousness-type

double patenting analysis. The issue under step one is whether there are differences between

Claim 4 of the '439 patent and Claim 5 of the ' 473 patent. See AbbVie Inc. v. Mathilda &

Terence Kennedy Inst. of Rheumatology Tr. , 764 F.3d 1366, 1378 (Fed. Cir. 2014) (assuming

that the difference under step one of the obviousness-type double patenting analysis is that the

asserted claim of the later-issued patent is directed to a species of the reference patent's genus

claim). Claim 5 of the '4 73 patent is very broad. It encompasses the genus of all

pharmaceutically acceptable salts of cabozantinib. I credit Dr. Steed, Dr. Koleng, and Dr. Trout' s

testimony that crystalline (L)-malate is a pharmaceutically acceptable salt of cabozantinib. (Tr.



                                                      31
Case 1:22-cv-00228-RGA             Document 186 Filed 10/15/24              Page 32 of 67 PageID #:
                                              6903



469:24-470: 1, 831 :9- 12, 926:21- 927:9). Therefore, Claim 4 of the '439 patent is directed to a

species of the '473 patent's genus claim: crystalline cabozantinib (L)-malate.

        But the obviousness-type double patenting inquiry does not end here. " [O]bviousness is

not demonstrated merely by showing that an earlier expiring patent dominates a later expiring

patent. ... It is well-settled that a narrow species can be non-obvious and patent eligible despite

a patent on its genus." Mathilda, 764 F.3d at 1379. If the later expiring patent is an "obvious

variation" of the earlier expiring patent, it is invalid for obviousness-type double patenting. Id.

        I now analyze whether crystalline cabozantinib (L)-malate is "merely an obvious

variation" of cabozantinib and its pharmaceutically acceptable salts. Id.

                2. Step Two

                    a. Motivation to make a salt of cabozantinib

        MSN argues that a POSA would be motivated to make a salt of cabozantinib. MSN

argues that the '473 patent claims the salt form of cabozantinib. (D.I. 169 at 14). Dr. Steed

testified that half of all drug products have APis in salt form, and that the prior art taught salt

formation was a way to improve properties of the APL (Tr. 432 :2-433:2). These properties

include solubility and dissolution rate. (Id.).

       Exelixis disputes that a POSA would be motivated to form a salt. (D.I. 175 at 23-24).

Exelixis contends that MSN must show there is some reason for a POSA to develop a salt when

the POSA already had the free base. (Id. at 24 ). Exelixis cites to Merck for the proposition, "The

mere fact that reference claim 17 covers [the sitagliptin free base and] pharmaceutically

acceptable salts of sitagliptin would not, in and of itself, have motivated a POSA to abandon the

free base form of sitagliptin to go in search of an acid-addition salt of this compound." Merck,

2022 WL 22855168, at *26. Dr. Steed testified that if there were no problems with the free base,



                                                      32
Case 1:22-cv-00228-RGA             Document 186 Filed 10/15/24            Page 33 of 67 PageID #:
                                              6904



then a POSA would pursue the free base as a first formulation option. (Tr. 500:24- 501:1). But

Dr. Steed also testified that here, there was a solubility issue with the free base, which would be

reason to pursue a salt. (Tr. 501 :4- 6).

        Exelixis argues that there were no problems with the free base reported in the prior art, so

a POSA would have no reason to make a cabozantinib salt. (D.I. 175 at 24-25). Dr. Trout

testified that there was no information disclosed in the prior art about reasons to form a salt of

cabozantinib. (Tr. 874:20- 23). Dr. Trout testified that a POSA would have considered

cabozantinib's permeability as driving its bioavailability, rather than trying to solve the solubility

issue to improve bioavailability. (Tr. 877: 11- 23).

        MSN has shown that a POSA would have been motivated to form a salt of cabozantinib. I

find persuasive that a POSA would have wanted to form a salt to increase the solubility,

dissolution rate, and other properties of the cabozantinib APL (Tr. 432:2-433:2). This is

sufficient reason for a POSA to try to formulate a salt of cabozantinib even though the POSA

already had the free base. "Our precedent, however, does not require that the motivation be the

best option, only that it be a suitable option from which the prior art did not teach away." Par

Pharm., Inc. v. TWi Pharms. , Inc., 773 F.3d 1186, 1197- 98 (Fed. Cir. 20 14). I find a POSA

would be motivated to form a salt of cabozantinib. See Janssen Pharms., Inc. v. Teva Pharms.

USA, Inc., 97 F.4th 915, 929- 30 (Fed. Cir. 2024) ("A motivation may be found explicitly or

implicitly in ... the background knowledge, creativity, and common sense of the person of

ordinary skill. " (internal quotations and citation omitted)).

                b. Motivation to use malic acid

       MSN outlines the path a POSA would have taken to use malic acid to form cabozantinib

(L)-malate. (D.I. 169 at 14-17). MSN contends that a POSA would have started the process of



                                                       33
Case 1:22-cv-00228-RGA             Document 186 Filed 10/15/24            Page 34 of 67 PageID #:
                                              6905



forming a salt of cabozantinib by testing 15- 20 counterions in a salt screen. (Tr. 434: 15- 25,

470: 19- 23). MSN argues a POSA would be motivated to select malic acid as one counterion to

use in the salt screen. (D.I. 169 at 15).

        MSN contends that a POSA would have started with a list of counterions from the prior

art. (Id.). This list includes fifty counterions, including malic acid. (Tr. 435:6- 24). MSN argues a

POSA would have narrowed the list to nine by using Tong's Rule of2 10 and using only

counterions that are generally recognized as safe for administration to humans ("GRAS"). (D.I.

169 at 15; Tr. 475:14-476:1 , Tr. 837:15- 21 , Tr. 932:14- 933:1). MSN contends that the nine

counterions a POSA would test includes malic acid. (D.I. 169 at 16).

        Exelixis disputes MSN' s outline of how a POSA would be motivated to use malic acid on

several grounds.

        Exelixis contends that a POSA would use the Rule of 3, not Tong ' s Rule of 2, to select

counterions to use in the salt screen. (D.I. 175 at 30- 31). MSN presented evidence that a POSA

would know of the Rule of 2 as a rule of thumb, and that the Rule of 2 has been used by a

company Exelixis hired to conduct its salt screen. (Tr. 622:2- 624:21). " [T]he question is whether

there is something in the prior art as a whole to suggest the desirability, and thus the

obviousness, of making the combination, not whether there is something in the prior art as a

whole to suggest that the combination is the most desirable combination available." In re Fulton,

391 F.3d 1195, 1200 (Fed. Cir. 2004) (cleaned up). That the Rule of 3 existed in the prior art

does not mean a POSA would not use Tong's Rule of 2. I find a POSA would use the Rule of2

as part of choosing a suitable counterion.




        10
          Tong's Rule of 2 is that a counterion selected for salt screening should have a pKa at
least two units lower than the base. (Tr. 437:3- 9).
                                                     34
Case 1:22-cv-00228-RGA            Document 186 Filed 10/15/24              Page 35 of 67 PageID #:
                                             6906



       Exelixis argues that a POSA would not consider a counterion' s GRAS status. (D.I. 175 at

30- 31). Dr. Koleng testified that GRAS is "related to food additives of the pure materials," and

is "really not directly applicable to pharmaceuticals." (Tr. 818:13- 819:5). Dr. Koleng testified

that the safety and toxicity of the salt, not just the counterion, is qualified as GRAS , and that the

conesponding acids of the most common counterions used in salt screens are not GRAS. (Tr.

818:20- 819:5). I find Dr. Koleng's testimony persuasive. I do not think a POSA would use a

potential counterion's GRAS status to nanow the list of counterions to test in a salt screen. MSN

counters, "The Handbook of Pharmaceutical Salts explicitly provides a 'List of Salt Formers'

with 'acids and bases regarded as innocuous' in which GRAS status is given." (D.I. 177 at 20,

PTX-610 at 336 of 376). But the table lists many qualities of the salt formers, including ones that

MS    has not argued a POSA would consider. (PTX-610 at 336 of 376). That the table also lists

GRAS status does not convince me a POSA would nanow the list of counterions by excluding

any counterion that is not GRAS.

       MSN argues that, instead of the method Exelixis proposes a POSA would use to conduct

the salt screen, a POSA would use the decision tree outlined in the Bighley prior art reference.

(Tr. 813:7-814:16). Dr. Koleng testified that Bighley teaches that a skilled artisan would start a

salt screen with hydrochloric acid, because it is a strong acid and very common. (Tr. 814: 17- 25).

After hydrochloric acid, a POSA would turn to inorganic acids because they are strong acids,

and, after that, to strong organic acids. (Tr. 815:1- 817:13). Dr. Koleng listed the five most

common organic acids, and malic acid was not among them. (Tr. 818:2- 12).

       Based on Dr. Koleng's testimony, I do not think a POSA would be motivated to select

malic acid to test during the salt screen. First, I am persuaded that a POSA would not test every

acid in the list of acids to try. Dr. Koleng testified that, consistent with the Bighley reference, a



                                                      35
Case 1:22-cv-00228-RGA            Document 186 Filed 10/15/24              Page 36 of 67 PageID #:
                                             6907



POSA would follow a hierarchical approach to pick a salt "in an efficient and timely manner

with few false starts and the minimum expenditure ofresources." (Tr. 814:3- 16). Dr. Koleng

also testified that a POSA would not try organic acids unless the inorganic acids did not form an

acceptable salt. (Tr. 816:18- 817:3). I find persuasive that, to save resources, a POSA would not

try every salt on the list.

        Malic acid would be far down on the list of acids a POSA would consider trying. I do not

think a POSA would consider GRAS status. Dr. Steed concluded that a POSA, relying on an

excerpt of Bighley, would consider organic acids, but I find more persuasive Dr. Koleng ' s

testimony that the excerpt related to a specific issue for injectable drugs . (Tr. 816:2- 17). The

drugs at issue here are oral dosage forms, not injectable drugs. (Tr. 816:13- 17). Therefore, I do

not think a POSA would be motivated to make it far enough down the list of counterions such

that the POSA would use malic acid in the salt screen.

        MSN argues that a POSA would be motivated to select malic acid because "another

FDA-approved tyrosine kinase inhibitor, sunitinib, had been formulated as an (L)-malate salt."

(D.I. 169 at 16 n.3 , Tr. 471 :8- 14). But Dr. Koleng testified that because of sunitinib's pKa, it

would be considered a stronger base than cabozantinib. (Tr. 823:20- 824:18). A POSA would be

motivated to consider different counterions to use with sunitinib than with cabozantinib. (Id.). I

find Dr. Koleng's testimony persuasive, particularly because Exelixis argued that pKa does

matter in counterion selection, as per Tong's Rule of 2. (D.I. 175 at 27- 28) . I do not think that

the formation of sunitinib as an (L)-malate salt would make a POSA consider malic acid in a salt

screen of cabozantinib.

        MSN contends that Exelixis is improperly arguing about whether malic acid is the best

option, not whether it' s a suitable option. (D.I. 177 at 11 ; see Par Pharm., 773 F.3d at 1197- 98).



                                                      36
Case 1:22-cv-00228-RGA            Document 186 Filed 10/15/24               Page 37 of 67 PageID #:
                                             6908



I disagree. Because a POSA would follow a hierarchical approach in testing counterions, a

POSA would not reach far enough down the list to test malic acid. The question is not whether

malic acid is a possible alternative, but whether a POSA would consider it when there were so

many more promising alternatives. I find a POSA would not. A POSA would not be motivated to

use malic acid to form a salt of cabozantinib.

                c. Motivation to form a crystalline salt

       Exelixis does not dispute that a POSA would have been motivated to form a crystalline

salt. Dr. Steed testified that a crystalline salt is preferred over an amorphous salt because

crystalline salts are usually more stable and less hygroscopic. (Tr. 441: 15- 18). Dr. Steed also

testified that prior art shows that drugs in crystalline forms are preferred. (Tr. 441: 19- 23). I find

a POSA would have been motivated to form a crystalline salt.

               d. Reasonable expectation of success

       MSN argues that a POSA would have a reasonable expectation of forming a crystalline

malate salt using a salt screen. (D.I. 169 at 14). Dr. Steed testified that a POSA would expect a

solid salt to form after following Tong's Rule of 2. (Tr. 437:3-438 :14).

       MSN presents no evidence for whether a POSA would have a reasonable expectation of

success of forming a crystalline salt. MSN cites Dr. Steed' s testimony that most salts can be

crystallized to argue that a POSA would have a reasonable expectation of success of forming a

crystalline salt. (D.I. 169 at 16- 17). The testimony MSN cites is:

       Q. Will a POSA be able to crystallize out of solution all of the pharmaceutical salts
       that are formed during a salt screen?
       A. Not all of them, no. But typically they would be able to isolate a solid, most of
       them, if only by evaporating off the solvent and then characterize what the result
       was.
       Q. Could you explain what the typical last step of a salt screen is?




                                                      37
Case 1:22-cv-00228-RGA            Document 186 Filed 10/15/24               Page 38 of 67 PageID #:
                                             6909



       A. Yes. In whatever solids arise from that crystallization attempts, then the person
       of skill would use routine analytical techniques to characterize the outcome,
       characterize the residual solids.
       Q. And what are the typical properties that will be characterized for each salt that's
       prepared in a screen?
       A. So typically it's crystallinity using x-ray powder diffraction. The sort of
       properties I alluded to earlier; hygroscopicity, melting point, it's- whether it's a
       solvate or not, those sorts of things.
       Q. And you mentioned one of the properties of a salt is its crystallinity. Can you
       explain the different-what that is?
       A. Yes. So the outcome of the salt screen, if it's a solid it might be either amorphous
       or crystalline. If it's a crystalline solid, then there will be a regular repeating array
       of the molecules that give rise to the crystal structure.

(Tr. 438:8-439:16) (cleaned up). I do not think Dr. Steed' s testimony that a salt can be

crystallized out of solution is the same as the salt being crystalline. Dr. Steed refers to

crystallizing a salt out of solution as "isolat[ing] a solid." (Tr. 438:8- 12). Dr. Steed explains that

a POSA would characterize the residual solid as crystalline or amorphous. (Tr. 439:9- 16). I

understand Dr. Steed to be testifying that crystallizing a salt out of solution refers to getting a

solid out of solution, which is later characterized as crystalline or amorphous. The testimony was

not that a POSA would reasonably expect the solid to be crystalline.

       MSN cites Dr. Steed's testimony that a POSA would be motivated to prepare a

crystalline form of cabozantinib (L)-malate because more than 90% of pharmaceuticals are in

crystalline form. (Tr. 478: 19-4 79: 1). But this testimony does not establish that 90% of salts

formed through a salt screen are crystalline, nor that a POSA would have a reasonable likelihood

of success in obtaining a crystalline salt. MSN cites no other testimony regarding the likelihood

of forming a crystalline salt. Exelixis cites Dr. Trout's testimony that there is no way of

predicting whether a crystalline salt will form. (Tr. 884:10- 19). I find MSN did not meet its

burden to show by clear and convincing evidence that a POSA would have a reasonable

expectation of success in obtaining a crystalline salt from doing a salt screen with cabozantinib

and malic acid.
                                                      38
Case 1:22-cv-00228-RGA              Document 186 Filed 10/15/24             Page 39 of 67 PageID #:
                                               6910



        A POSA would not be motivated to use malic acid to form a salt. A POSA would not

have a reasonable likelihood of success in obtaining a crystalline salt using malic acid.

Therefore, I find the asserted claims of the Malate Salt Patents are non-obvious.

                e. Unexpected Results

        Exelixis offers evidence of unexpected results for the Malate Salt Patents. (D.I. 175 at

38- 39). Exelixis discusses three examples of w1expected results and incorporates by reference

the discussion of commercial success and long-felt need from its obviousness argwnent for the

'349 patent. 11 (Id. , D.I. 175 at 38 n.14).

        I have already found that the asserted claims of the Malate Salt Patents are non-obvious.

Exelixis does not prove by a preponderance of the evidence that there are secondary

considerations of non-obviousness for the Malate Salt Patents. Exelixis has proven by a

preponderance of the evidence that there were unexpected results, but that finding is obviated

given that there is no nexus between the Malate Salt Patents and the secondary considerations.

See infra VII.B.2.f.v.

        Exelixis argues there were three unexpected results. First, Exelixis argues it was

unexpected that crystalline cabozantinib (L)-malate displayed the best properties out of all the

salts Exelixis evaluated. (D.I. 175 at 38, Tr. 889:1- 10). Second, Exelixis argues it was

unexpected crystalline cabozantinib (L)-malate dissolved faster than amorphous cabozantinib

(L)-malate. (D.I. 175 at 38- 39; Tr. 889:11 - 16, 891 :1- 9; PTX-225 at 5- 8 of 9). Third, Exelixis




        11
           I likewise incorporate by reference my later discussion of commercial success and
long-felt need. See infra VII.B.2.f.i, iii- v. For the reasons set forth there, I find that Exelixis has
not proven by a preponderance of the evidence that Cabometyx met a long-felt but unmet need.
Exelixis has proven by preponderance of the evidence that Cabometyx was a commercial success
but failed to prove a nexus between commercial success, or any other secondary consideration,
and the Malate Salt Patents.
                                                      39
Case 1:22-cv-00228-RGA            Document 186 Filed 10/15/24              Page 40 of 67 PageID #:
                                             6911



argues it was unexpected that crystalline cabozantinib (L)-malate displayed a fast dissolution

profile given its low water solubility. (D.I. 175 at 39, Tr. 891:1- 19).

       MSN argues that the results argued by Exelixis are not unexpected results, because for a

result to be unexpected, it must be unexpected compared to the reference patent. " [W]hen

unexpected results are used as evidence of nonobviousness, the results must be shown to be

unexpected compared with the closest prior art." In re Baxter Travenol Labs, 952 F.2d 388, 392

(Fed. Cir. 1991). MSN contends that the reference patent is the '473 patent, and crystalline

cabozantinib (L)-malate is within the scope of the patent. (D.I. 177 at 22). Therefore, MSN

argues that any property of crystalline cabozantinib (L)-malate is a "latent property" within the

scope of the reference claim, rather than an unexpected result. Se e In re Pasteur, 2023 WL

8609987, at *4 (Fed. Cir. Dec. 13, 2023) (" [T]he fact that performing [the] prior art method

would produce a result .. . is ... mere recognition of a latent property in an obvious method of

treating pain with the same peptide." (internal quotations and citation omitted)).

       Abb Vie sheds light on how to consider unexpected results in the context of an

obviousness-type double patenting analysis. The Federal Circuit held, "To determine whether the

[asserted] patent is directed to a species that yielded unexpected results, we must necessarily

look to the [reference] patent's disclosures to assess what results were expected at the time the

[reference] patent application was filed." AbbVie, 764 F.3d at 1380. Because the study the

plaintiff used to show unexpected results in the asserted patent was the same study the reference

patent relied on to show utility, the Federal Circuit held that there were no unexpected results. Id.

       Abb Vie teaches that it is not the case that any result of the species claim is a latent

property of the reference genus claim. Rather, the reference claim must teach the alleged

unexpected result for it to be a latent property. Nothing in the specification of the '473 patent



                                                      40
Case 1:22-cv-00228-RGA            Document 186 Filed 10/15/24               Page 41 of 67 PageID #:
                                             6912



teaches that crystalline cabozantinib (L)-malate displays the best properties, that crystalline

cabozantinib (L)-malate dissolves faster than its amorphous counterpart, or that crystalline

cabozantinib (L)-malate displays a relatively fast dissolution profile. I reject MSN' s argument

that there can be no unexpected results of crystalline cabozantinib (L)-malate.

        MSN contends that any result cannot be unexpected, because a POSA would not have

any "expectation of what the ' suite of properties' for any salt will be before it is formed. " (D.I.

177 at 22). MSN cites Dr. Koleng's testimony that there is no way to guarantee a salt would form

in a salt screen or what the properties of the salt would be. (Tr. 828 :3- 12). MSN also cites Dr.

Trout's testimony that there is no way to predict the pharmaceutical properties of a salt before it

is made and characterized. (Tr. 889: 1- 6). I do not take this testimony to mean that a POSA

would have no expectation of what properties cabozantinib (L)-malate would have. Dr. Trout

went on to testify that it was unexpected cabozantinib (L)-malate had the best suite of properties

given "potential issues with the low acidity, the high molecular weight, the tendency to form

pseudodimerism and also the fact that it has two acid groups." (Tr. 889:7- 10). I understand the

testimony to reflect that the exact pharmaceutical properties, and thus the efficacy, of a salt

cannot be predicted, but that a POSA can have expectations of pharmaceutical properties and

efficacy based on other properties of the salt.

       MSN argues that the crystalline cabozantinib (L)-malate does not dissolve unexpectedly

fast, but that it is the amorphous cabozantinib (L)-malate that dissolves unexpectedly slowly.

(D.I. 169 at 35). Dr. Trout testified that not only is it surprising the crystalline cabozantinib (L)-

malate dissolved faster than the amorphous cabozantinib malate, but that the crystalline

cabozantinib (L)-malate dissolving fully in fifteen minutes, given its low solubility, was

unexpected. (Tr. 891 :3- 9). Against this backdrop, the testimony MSN cites does not persuade



                                                      41
Case 1:22-cv-00228-RGA             Document 186 Filed 10/15/24             Page 42 of 67 PageID #:
                                              6913



me that the crystalline form did not have unexpected results. Dr. Steed testified that the solubility

of the amorphous cabozantinib (L)-malate was anomalous, explaining that its slow dissolution

was surprising because it is hygroscopic and forms clumps. 12 (Tr. 485:5- 19). I find persuasive

Dr. Trout's reasoning that the crystalline form dissolving faster than the amorphous form is

surprising given its low solubility. (Tr. 891 :3- 9). There is no reason both results cannot be

surprising. It can be unexpected that the crystalline form dissolves more quickly than the

amorphous form while also being surprising that the amorphous form dissolves more slowly than

expected. Therefore, the Exelixis study showing that amorphous cabozantinib (L)-malate

dissolves slowly (Tr. 640: 18-641 :6) does not prevent me from finding that it was unexpected

that crystalline cabozantinib (L)-malate dissolves quickly.

        Exelixis has shown by a preponderance of the evidence that the crystalline cabozantinib

(L)-malate displayed unexpected results. But, Exelixis has not shown a nexus between the

unexpected results and the Malate Salt Patents. See infra VII.B.2.f.v.

                 f.   Claim 3 of the '440 patent and Claim 2 of the '015 patent

        MSN argues that Claim 3 of the '440 patent and Claim 2 of the '015 patent are not

patentably distinct from Claim 5 of the '4 73 patent. (D .I. 169 at 18).

        Claim 3 of the ' 440 patent recites:

    3. A pharmaceutical composition comprising the [cabozantinib] malate salt, wherein
    said salt is the (L)-malate salt or (D)-malate salt, and wherein said salt is crystalline;
    and a pharmaceutically acceptable excipient.

(' 440 patent at 32: 16- 21 ).



        12
          The transcript is confusing. In one sentence, Dr. Steed says, "So [amorphous
cabozantinib (L)-malate] dissolves very quickly." (Tr. 485:15- 16). In the next sentence, Dr.
Steed says, "[Amorphous cabozantinib (L)-malate] dissolves unexpectedly slowly." (Id. 485:18).
I understand Dr. Steed to be saying that, given its properties, he would expect amorphous
cabozantinib (L)-malate to dissolve quickly and it is surprising that it in fact dissolves slowly.
                                                      42
Case 1:22-cv-00228-RGA            Document 186 Filed 10/15/24              Page 43 of 67 PageID #:
                                             6914



       MSN contends that the only added limitation and difference between Claim 3 of the '440

patent and Claim 5 of the ' 473 patent is that the '440 patent requires the crystalline cabozantinib

(L)-malate to be in "a pharmaceutical composition." (D.I. 169 at 18).

       MSN cites Dr. Steed' s testimony to argue that it would have been obvious for a POSA

make a pharmaceutical composition of cabozantinib. (Id.). Dr. Steed testified that the application

that led to the '473 patent, U.S. Patent Pub.   o. 2007/0054928 (the "' 928 application"), "teaches

administration of the compounds of the invention or their pharmaceutically acceptable salts

which would include the malate salt in appropriate pharmaceutical compositions." (DTX 180; Tr.

481 :3- 6). Dr. Steed testified that the '928 application does not identify "any specific

pharmaceutical compositions with cabozantinib or how to make one." (Tr. 481 :7- 11 ). Dr. Steed

testified that a POSA would have been able to use the POSA' s general knowledge and the prior

art to make a pharmaceutical composition of cabozantinib. (Tr. 481: 12- 20).

       I find that MSN has not met its burden of proving by clear and convincing evidence that

it would be obvious for a POSA to make a pharmaceutical composition of crystalline

cabozantinib (L)-malate. First, MSN has not shown it is obvious for a POSA to make a

crystalline cabozantinib (L)-malate salt. But even if MSN had shown it is obvious for a POSA to

make crystalline cabozantinib (L)-malate, Dr. Steed' s conclusory testimony is not clear and

convincing evidence that it would be obvious for a POSA to make a pharmaceutical

composition. As MSN argues, Dr. Steed admitted that the '928 application does not disclose

"any specific pharmaceutical compositions with cabozantinib or how to make one." (Tr. 481 :7-

11). Dr. Steed does not explain what a POSA' s general knowledge would be that would allow a

POSA to turn the salt into a pharmaceutical composition. Dr. Steed does not explain what steps




                                                     43
Case 1:22-cv-00228-RGA            Document 186 Filed 10/15/24              Page 44 of 67 PageID #:
                                             6915



the POSA would take to create a composition, and whether the steps would be supported by a

POSA's general knowledge or prior art. Nor does any other expert.

        I turn to evaluating whether Claim 2 of the ' 015 patent is invalid for obviousness-type

double patenting.

        Claim 2 of the '015 patent recites:

    2. A method of treating cancer, comprising administering to a subject in need thereof
    [cabozantinib] malate salt, wherein said salt is the (L)-malate salt or the (D)-malate
    salt, said salt is crystalline, and said cancer is kidney cancer.

('015 patent at 32:11 - 16).

        MSN contends that the only added limitation and difference between Claim 2 of the '015

patent and Claim 5 of the ' 473 patent is that the ' 015 patent requires the additional limitation of

administering crystalline cabozantinib (L)-malate as "a method of treating cancer ... wherein

said cancer is kidney cancer." (D.I. 169 at 18).

        MSN argues that the '928 application discloses the additional limitation. (Id.). Dr. Steed

testified that the ' 928 application discloses treating kidney cancer with cabozantinib and it would

be obvious for a POSA to use crystalline cabozantinib (L)-malate to treat kidney cancer. (Tr.

482:9-483 :20).

        I find that MSN has not its burden of proving by clear and convincing evidence that it

would be obvious for a POSA to treat kidney cancer with the malate salt of cabozantinib. As

with the '440 patent, MSN assumes that a POSA could use crystalline cabozantinib (L)-malate as

a starting point. However, this assumption fails because MSN has not shown it is obvious for a

POSA to make a crystalline cabozantinib (L)-malate salt. Even ifl had found MS          had shown a

POSA would know how to make crystalline cabozantinib (L)-malate, MSN has not offered clear

and convincing evidence that it would be obvious for a POSA to use crystalline cabozantinib

(L)-malate to treat kidney cancer. Dr. Steed's testimony, the only testimony MSN cites on this
                                                     44
 Case 1:22-cv-00228-RGA          Document 186 Filed 10/15/24             Page 45 of 67 PageID #:
                                            6916



issue, is highly conclusory. Dr. Steed admitted that the ' 928 application does not "identify any

specific methods or other properties of kidney cancer treatment resulting from administering any

of the claimed compounds to a patient." (Tr. 483:4- 9). No expert provided testimony on what

method the POSA would use to treat kidney cancer, or how a POSA would go about identifying

a successful method.

       I find that MSN has not proved by clear and convincing evidence that Claim 3 of the '440

patent and Claim 2 of the '015 patent are invalid for obviousness-type double patenting.

VII.   OBVIOUSNESS

           A. Findings of Fact

             1. Asserted Claim 3 of the ' 349 patent recites a formulation of cabozantinib (L)-
                malate that includes a filler, lubricant, disintegrant, and glidant, and is
                "essentially free" of the 6,7-dimethoxy-quinoline-4-ol impurity (the " 1-1
                impurity," see supra n.4), where "essentially free" is defined as 200 ppm or less.
                ('349 patent at 8:15- 20, 30:4-51). The '349 patent issued on April 12, 2022,
                and claims priority to a provisional application filed on February 10, 2011.
                ('349 patent).

             2. There are three routes by which the 1-1 impurity could become present in
                cabozantinib (L)-malate API-due to the 1-1 impurity being a starting material
                and carrying through to the final API, due to the formation of the impurity as a
                degradation product, or due to the formation of the impurity as a byproduct. (Tr.
                264:23-265:6, 690:7- 13, 657:18- 658:1).

             3. A POSA would know the 1-1 starting material is potentially genotoxic because
                it is a quinoline. (Tr. 300:9- 21, 304:1- 13, 769 :3- 770:4).

             4. A POSA would heed FDA guidance on how to deal with genotoxic impurities.
                A POSA would be motivated to identify the 1-1 starting material as genotoxic.
                (Tr. 30 1:8- 10, 302:4- 8, 303:5- 15).

             5. The Brown process, or the A-2 process, is disclosed in Example 1 of Exelixis '
                2010 International Patent Application o. WO 2010/083414 to Brown (the
                "Brown Publication"). (Tr. 606:6- 15 ; DTX-291 at ,r 0098- 00114). It describes
                how to synthesize cabozantinib (L )-malate APL (Tr. 267 :4- 268: 10). It is a five
                step process with two side steps. (Tr. 677:11- 19, 678:4-13; DTX-291 at ,r
                0098-00114). The A-2 process is an optimized version of an earlier-developed
                A-1 process. (Tr. 602:4-11).


                                                    45
Case 1:22-cv-00228-RGA       Document 186 Filed 10/15/24             Page 46 of 67 PageID #:
                                        6917



         6. There were four experimental batches prepared of the cabozantinib (L )-malate
            APL Three were prepared by the contract manufacturer Regis and one was
            prepared by the contract manufacturer Girindus. (Tr. 603: 13- 16, 783 :7- 15).

         7. The Regis batches did not follow the Brown experimental process. Regis stated
            there were some "processing and reagent changes" to the synthetic route they
            had planned to follow to prepare the batches. (PTX-10 at 9 of 37). Dr. Lepore
            did not know what those changes were. (Tr. 336: 17- 338 :19).

         8. A 1-1 impurity can form as a degradation product during the Brown process.
            (Tr. 569:16- 25, 600:8- 601:4, 671:2- 20). The so-called "1-3" intermediate
            material in the A-1 process was found to decompose to form large amounts of
            the 1-1 impurity. (Tr. 600:19- 601:4, 693:3- 13, 698:16- 18; PTX-35 at 9 of 16).
            The same decomposition problem occurred in the A-2 process. (Tr. 694:5- 12).

         9. MSN has not shown by clear and convincing evidence that if the Brown process
            is followed, it will result in a cabozantinib (L)-malate API essentially free of the
            1-1 impurity. (FOF ,r 8).

         10. A POSA would not be motivated to minimize the 1-1 impurity after the Brown
             process because a POSA would expect that there is, at most, de minimis
             impurity left at the end of the Brown process. Each step of the Brown process
             purifies the APL (Tr. 668:16-669:14, 708:23-709:19).

         11. Recrystallization of the cabozantinib (L )-malate API is the "first thing" a POSA
             would have attempted to purify the API if a POSA would have been motivated
             to minimize the 1-1 impurity after the Brown process. (Tr. 307:23-308:9).
             Many prior art examples show that recrystallization purifies an API of an
             impurity. (Tr. 310:11-311:3).

         12. A POSA would not be motivated to add a recrystallization step at the end of the
             Brown process to remove the impurity because a POSA would expect that there
             is, at most, de minimis impurity left at the end of the Brown process. (Tr.
             737:5- 15).

         13. Recrystallization would not have worked to purify the API of the 1-1 impurity
             because the impurity would be embedded in the crystalline lattice of the APL
             (Tr. 735:7-23 , 736:13- 22). Recrystallization could also produce more 1-1
             impurity through "decomposition." (Tr. 737:5- 15).

         14. A POSA would not be motivated to obtain a cabozantinib (L)-malate
             formulation essentially free of the 1-1 impurity. (FOF ,r,r 11- 13).

         15. Manufacturing exposes an API to heat, humidity, and excipients, which can
             cause degradation and thereby lead to increased impurity levels. (Tr. 414:13- 24,
             689: 17-690:6).



                                                46
Case 1:22-cv-00228-RGA       Document 186 Filed 10/15/24               Page 47 of 67 PageID #:
                                        6918



         16. A POSA would be motivated to ensure that cabozantinib (L)-malate is
             formulated as a tablet or capsule that includes a filler, lubricant, disintegrant,
             and glidant. (Tr. 392:15- 394:19).

         17. It was not unexpected that cabozantinib (L)-malate could be formulated and stay
             essentially free of the 1-1 impurity. A POSA would have expected that
             cabozantinib (L)-malate that is essentially free of the 1-1 impurity could be
             formulated into a capsule or tablet that is essentially free of the 1-1 impurity.
             (Tr. 399:18-400:19). The API Exelixis used had very low levels of the 1-1
             impurity. (Tr. 612:7-8).

         18. The '473 patent is a blocking patent. It issued in 2009. (Tr. 403:17- 21). Its
             published parent application, the '140 publication, would have some
             discouraging effect similar to that of a weak blocking patent once it was
             published in August 2005. The '473 patent covered cabozantinib and its
             pharmaceutically acceptable salts and the ' 140 publication covered uses of
             cabozantinib. ('473 patent 411:10-412:57; DTX-192).

         19. From August 2005 to the end of the patent term of the ' 473 patent there would
             have been some blocking effect. (Tr. 403:9-404:1 , 485:23-487:2, 1016:11- 14).

         20. A POSA would be discouraged from developing technology covered by the
             ' 140 publication because the application might be granted and the POSA would
             then infringe its issued claims. (Tr. 486:20-487:2).

         21. There was no successful challenge to the '4 73 patent or development of others
             in the 2009 to 2011 time frame. (D.I. 1018:9- 11). Competitors would have
             concerns of losing the invention race to Exelixis and its partners, there was no
             evidence of a good licensing opportunity due to Exelixis' exclusive
             collaborations with GSK and BMS, and there was low economic opportunity for
             others in light of the blocking patent. (Tr. 1018:1- 1019:7).

         22. In 2019, CIPLA filed an international patent application related to its work
             investigating cabozantinib. (DTX-121 ).

         23. The purity and stability of the crystalline cabozantinib (L)-malate drives at least
             part of the commercial success of the drug. (957:22- 958:13 , 959:4- 960:10).

         24. There is a nexus between the asserted claims of the ' 349 patent and the
             secondary considerations. (FOF 'if 23; ' 349 patent at 34:50- 51).

         25. Cabometyx and Cometriq embody the asserted claims of the ' 349 patent. (Tr.
             422:7- 9, 688:12- 15).

         26. There is no nexus between the Malate Salt Patents and the secondary
             considerations. (Tr. 894:22- 895:2, 1020:13- 1022:13).

         27. Cabometyx is commercially successful. (Tr. 979:5- 6).

                                                 47
Case 1:22-cv-00228-RGA            Document 186 Filed 10/15/24              Page 48 of 67 PageID #:
                                             6919



             28. Cabometyx had $4.9 billion in sales in four years, and a 39% market share
                 within seven years of its launch. (Tr. 981:14-982:8, 985:8-22). Cabometyx is
                 the market leader for second-line therapy as well as therapies capable of use as a
                 monotherapy or combined therapy. (Tr. 982:20- 985:5).

             29. Cabozantinib offered only an incremental improvement over existing therapies.
                 (Tr. 996:8- 11).

             30. Doctors prescribe treatments other than cabozantinib for first-line treatments,
                 and there are other treatments used for second-line treatment. (Tr. 965:22-
                 966:4, 1002:13- 20).

             31. Cabozantinib does not fulfill the long-felt but unmet need for a safe and
                 effective cancer treatment. (FOF ,r,r 29- 30).

           B. Conclusions of Law

       At issue is the "essentially free" limitation of Claim 3 of the ' 349 patent. MSN argues

that Claim 3 of the ' 349 patent is invalid because making a cabozantinib (L)-malate API

essentially free of the 1-1 impurity would be obvious to a POSA. (D.I. 169 at 20, 26). MSN

presents two arguments. First, that the Brown process inherently discloses a cabozantinib (L)-

malate API essentially free of the 1-1 impurity. (D.I. 169 at 20). Second, in the alternative, that it

would have been obvious for a POSA to modify the Brown process to obtain a formulation of

cabozantinib (L)-malate essentially free of the 1-1 impurity. (D.I. 169 at 26).

               1. Inherency

       MSN argues that the Brown prior art reference inherently discloses a cabozantinib (L)-

malate API essentially free of the 1-1 impurity. (D.I. 169 at 20).

       In the context of obviousness, proving a claim element is inherent in a prior art reference

must meet a high bar. "[T]he concept of inherency must be limited when applied to obviousness,

and is present only when the limitation at issue is the natural result of the combination of prior

art elements." Par Pharm., 773 F.3d at 1195 (internal quotations and citation omitted).

       Inherency, however, may not be established by probabilities or possibilities. The
       mere fact that a certain thing may result from a given set of circumstances is not

                                                     48
Case 1:22-cv-00228-RGA             Document 186 Filed 10/15/24               Page 49 of 67 PageID #:
                                              6920



        sufficient. ... If, however, the disclosure is sufficient to show that the natural result
        flowing from the operation as taught would result in the performance of the
        questioned function, it seems to be well settled that the disclosure should be
        regarded as sufficient.

In re Oelrich, 666 F.2d 578,581 (Fed. Cir. 1981).

        MSN did not meet its burden of proving inherency by clear and convincing evidence.

MSN failed to offer clear and convincing evidence that if the Brown process is followed, it will

inherently result in a cabozantinib (L )-malate API essentially free of the 1-1 impurity. The

Federal Circuit has found inherency in an obviousness argument when there is both expert

testimony of the underlying scientific principles and experimental data showing that the prior art

reference inherently discloses the claimed limitation. See Hospira, Inc. v. Fresenius Kabi USA,

LLC, 946 F.3d 1322, 1330 (Fed. Cir. 2020); see also Par Pharm. , Inc. v. TWi Pharms., Inc. , 120

F. Supp. 3d 468,474 (D. Md.), aff'dwithout opinion, 624 F. App'x 756 (Fed. Cir. 2015). Here,

there is neither clear and convincing experimental data nor expert testimony about the underlying

scientific principles.

        MSN' s experimental data does not meet the clear and convincing standard. There were

four batches of the cabozantinib (L)-malate API prepared: three by Regis and one by Girindus. 13

It is undisputed that the three Regis batches all had lower than 100 ppm of the 1-1 impurity and

thus met the "essentially free" limitation. (D.I. 169 at 22- 23, D.I. 175 at 46). However, I find

MSN did not show by clear and convincing evidence that the Regis batches followed the Brown




        13
          There is testimony that the batch produced by Girindus had the highest levels of the 1-1
impurity, ranging as high as 411 or 600 parts per million ("ppm") using HPLC/UV testing. (Tr.
603:5- 23, 785:2- 10, 789:12- 790:3). MSN argues I should disregard the data from the Girindus
batch because it does not follow the Brown process. Exelixis argues I should consider the
Girindus data and find against inherency. I do not consider evidence of the Girindus batch
because even without it, I still find that Brown does not inherently disclose the "essentially free"
limitation.
                                                       49
Case 1:22-cv-00228-RGA           Document 186 Filed 10/15/24              Page 50 of 67 PageID #:
                                            6921



process. Dr. Lepore testified that the Brown process and Regis process were the same. (Tr.

271:20-275 :21 , 364:3- 365:13). Dr. Lepore walked through the steps of the Brown process and

the Regis process and explained that they are virtually identical. (Tr. 271:20- 275:21, 364:3-

365:13). The document Dr. Lepore relied on for opining on the "synthetic scheme for how Regis

went about synthesizing the API, step-by-step reaction by reaction" is a regulatory document

Exelixis prepared and submitted to the FDA. (Tr. 271 :7- 272:3 , DTX-38). But in another

document Exelixis submitted to the FDA, Regis stated there were some "processing and reagent

changes" to the synthetic route it had planned to follow to prepare the batches. (PTX-10 at 9 of

37). Dr. Lepore testified that he had not seen what the changes were, and that he had to assume

Exelixis put all the information required of it into its FDA document. (Tr. 336: 17- 338: 19). Dr.

Lepore testified, "I'm assuming that these [changes] are extremely minor things that I wouldn't

even call deviation. " (Tr. 338:1- 3). Because Dr. Lepore did not know what changes Regis made

to the Brown process, I do not find persuasive his testimony that the Brown process and Regis

process are virtually identical. I cannot find that the Brown process inherently produces a

cabozantinib (L )-malate API essentially free of the 1-1 impurity because it is not clear to me that

the Regis process followed the Brown process.

       MSN' s expert testimony about how the underlying science of the Brown process leads to

an API essentially free of the 1-1 impurity does not meet the clear and convincing evidence

standard. The 1-1 impurity could have formed as a degradation product. MSN cites testimony of

various experts who explain that a POSA would not have expected the 1-1 impurity to form as a

degradation product. 14 However, what a POSA would have expected is not sufficient to show



       14
         Dr. Lepore testified that if a POSA followed the Brown process, the Brown process
would always produce an API with less than 200 ppm impurity. (Tr. 299:10- 18, 366:14- 18). Dr.
MacMillan testified that a POSA would not expect any 1-1 impurity to be left at the end of
                                                    50
Case 1:22-cv-00228-RGA            Document 186 Filed 10/15/24              Page 51 of 67 PageID #:
                                             6922



inherency, given that Exelixis presented evidence that the 1-1 impurity did form as a degradation

product during the Brown process. In response, MSN contends, "[T]here is no evidence that

Exelixis' work discovered the 1-1 impurity formed in any meaningful amount (and certainly not

more than 200 ppm) when the Brown Example 1 process was followed." (D.I. 177 at 17 (cleaned

up)). But Dr. Myerson testified that "20[%] of the 1-3 [intermediary] was decomposing to 1-1."

(Tr. 693: 11- 12). And it is MSN' s burden, not Exelixis' , to show that the Brown process does not

form the 1-1 impurity through degradation. I am persuaded by Exelixis' evidence that the 1-1

impurity could have formed as a degradation product during the Brown process. (Tr. 569: 16-25,

600:8- 601 :4, 671 :2- 20). I do not find that MSN has met its burden of showing by clear and

convincing evidence that the Brown process inherently results in a cabozantinib (L)-malate

impurity essentially free of the 1-1 impurity.

               2. Obviousness

       MSN argues that it would have been obvious for a POSA to modify the Brown process to

obtain a formulation of cabozantinib (L)-malate essentially free of the 1-1 impurity. (D.I. 169 at

26).

                   a. Motivation to identify the 1-1 impurity

       Dr. Lepore testified that a POSA would have heeded an FDA document providing

guidance on how to deal with genotoxic impurities. (Tr. 310:9- 302:8). The FDA document

advises a POSA to consider the genotoxicity of starting materials. (Tr. 301:8-10). Specifically, it

guides the POSA to look at the structure of the starting material to determine if it is toxic. (Tr.

303:5- 15). Dr. Lepore testified a POSA would have followed this guidance, used the Ames test




Brown, because each of the five steps of Brown has a purification component and the reagents
added through the process could purge the impurity. (Tr. 668:16-669:14, 677:11- 25).
                                                     51
Case 1:22-cv-00228-RGA            Document 186 Filed 10/15/24              Page 52 of 67 PageID #:
                                             6923



(which is disclosed in the FDA document) to determine that the 1-1 starting material is a

quinoline, and known from the prior art that quinolines are often genotoxic. (Tr. 302:5-306:16).

Dr. Myerson agreed that a POSA would know that the 1-1 starting material is potentially

genotoxic because it is a quinoline. (Tr. 769:5-770:4).

       Exelixis argues that a POSA would not be motivated to minimize the 1-1 impurity 15

because a POSA would not know that the 1-1 starting material is genotoxic. (D.I. 175 at 45). No

prior art taught that the 1-1 impurity is genotoxic. (Tr. 356:5- 8). But Exelixis does not counter

MSN' s argument that the FDA guidance would ultimately inform a POSA that the 1-1 starting

material is genotoxic. I am persuaded that a POSA would know from the FDA guidance that the

1-1 starting material is genotoxic.

                    b. Motivation to minimize the 1-1 impurity

       Dr. Lepore testified that a POSA would know from the FDA guidance that the 1-1

starting material had to be reduced to the extent technically possible due to its genotoxicity. (Tr.

302:9- 18, 307:9- 19). Thus, MSN argues a POSA would be motivated to minimize the impurity.

(D.I. 169 at 26- 27).

       Exelixis argues that a POSA would not be motivated to minimize the impurity because a

skilled artisan would not expect there to be any impurity left in the final product of the Brown

process. (Id.). Dr. MacMillan testified that a POSA would read Brown and expect there to be

very little impurity left after step one, and no impurity at the end of step five, because each step

purifies the APL (Tr. 668: 16- 669: 14). Dr. Myerson testified that by the end of step one, 98% of

the starting material is used up. (Tr. 708 :23- 709: 19). Dr. Myerson testified that a POSA would



        15
           The parties refer to the 1-1 starting material as the genotoxic material that exists at the
start of the Brown process. The parties refer to the 1-1 impurity as whatever is left of the starting
material at the end of the Brown process. They are the same material.
                                                     52
Case 1:22-cv-00228-RGA            Document 186 Filed 10/15/24            Page 53 of 67 PageID #:
                                             6924



expect a de minimis quantity of the 1-1 impurity to be left at the end, and that a POSA would not

expect the 1-1 impurity to form as a degradation product. (Id.) .

       In response, MSN cites Dr. Myerson' s testimony that a POSA would have understood

from the FDA guidelines that the 1-1 impurity was genotoxic and would need to be minimized.

(Tr. 771 :17- 772:3). MSN contends that Dr. Lepore testified that the FDA Guidance applies to

known starting materials even when the starting material is purged in the process. (D.I 169 at

28). But that was not Dr. Lepore' s testimony. Dr. Lepore testified that the FDA guidance applies

to starting materials and that the guidance states impurities often come from starting materials

and need to be controlled. (Tr. 264:23- 265:6, 302:1 - 7). The testimony MSN cites does not

convince me that a POSA would try to minimize the 1-1 impurity. I credit Dr. Myerson's

testimony that the POSA would think there is, at most, a de minimis amount of impurity left after

the Brown process. (Tr. 708:23- 709:19; see also Tr. 668:16-669:14). A POSA would believe the

POSA had already controlled the impurity and thus followed the FDA guidance by following the

Brown process.

       Because a POSA would not expect that the 1-1 impurity would be present by the end of

the Brown process, the POSA would not be motivated to control for it. (Tr. 708:23- 709:19;

669:12- 14).

                   c. Motivation to add a recrystallization step

       MSN argues that a POSA would be motivated to add a recrystallization step to purify the

1-1 impurity. (D.I. 169 at 28- 29).

       Exelixis makes the same arguments as above- that a POSA would not think to purify the

cabozantinib API further because a POSA would not think any 1-1 impurity would be left by the

end of the Brown process. (D.I. 175 at 52). Since I have found a POSA is not motivated to



                                                    53
Case 1:22-cv-00228-RGA             Document 186 Filed 10/15/24              Page 54 of 67 PageID #:
                                              6925



minimize the 1-1 impurity, I apply the same reasoning to find a POSA would have no motivation

to add a recrystallization step to the Brown process.

                d. Motivation to obtain a cabozantinib (L)-malate formulation essentially
                   free of the 1-1 impurity

        Claim 3 of the ' 349 patent requires a formulation of cabozantinib (L)-malate that includes

a filler, lubricant, disintegrant, and glidant, and is "essentially free" of the 1-1 impurity. ('349

patent at 34:30- 51). For MSN to prove the claim to be obvious, MSN must prove two additional

requirements: (1) that a POSA would be motivated to ensure the final formulation is essentially

free of the 1-1 impurity and (2) that a POSA would be motivated to ensure the final formulation

meets the "compositional limitation" of including a filler, lubricant, disintegrant, and glidant.

        The second point is easily disposed of, as the parties do not dispute that the POSA would

have such a motivation. The parties agree that a POSA would be motivated to formulate the

cabozantinib (L)-malate API as a capsule or tablet and ensure the final formulation meets the

"compositional limitation." (D.I. 169 at 30- 31, D.I. 175 at 54- 55). Dr. Donovan testified that a

POSA would be motivated by the Brown prior art, the Lachman reference, and the '081

publication "to formulate a cabozantinib (L)-malate tablet or capsule composition with the

claimed excipients." (Tr. 394: 1- 19). I find that a POSA would be motivated to ensure the

formulation is a tablet or capsule that includes a filler, lubricant, disintegrant, and glidant.

       The parties dispute whether a POSA would be motivated to ensure the final formulation

is essentially free of the 1-1 impurity. MSN argues that all that is needed to have a formulation of

cabozantinib (L)-malate that is free of the 1-1 impurity is an API free of the impurity. (D.I. 177

at 14). I understand MSN to be arguing that MSN does not need to prove motivation to ensure

that the formulation is free of the 1-1 impurity, because if the cabozantinib API is free of the 1-1

impurity, then the formulation would necessarily be free of the 1-1 impurity. Dr. Donovan


                                                      54
Case 1:22-cv-00228-RGA           Document 186 Filed 10/15/24             Page 55 of 67 PageID #:
                                            6926



testified that a POSA would expect "to be able to formulate cabozantinib (L)-malate into a

capsule that was essentially free of the 1-1 impurity." (Tr. 399: 18-400:19). Dr. Donovan

explained that the components, namely cabozantinib (L )-malate that is essentially free of the 1-1

impurity and excipients, can simply be premixed and added to a capsule shell. (Id.). Dr. Myerson

testified that the "key feature" to "reliably manufacture" a tablet or capsule was formulating an

API essentially free of the impurity, so that the formulation would be essentially free of the

impurity. (Tr. 697:25-698:7).

       But I think that MSN has not proved that the API would be free of the impurity. The 1-1

impurity could appear in the API as a degradation product. (Tr. 569:16- 25, 600:8- 601:4, 671:2-

20). A POSA would not know there might be some 1-1 impurity left at the end of the Brown

process. Yet, MSN must show a POSA would be motivated to ensure that the formulation is free

of the 1-1 impurity.

       MSN argues that a POSA would be motivated to control for the 1-1 impurity during

formulation due to prior art references that advise a POSA to minimize and be concerned with

stability in formulation. But that testimony deals with choosing excipients that would not cause

additional impurities to form. (Tr. 385:1- 20, 385:21- 386 :1 2, 396:10- 16). MSN does not explain

how a POSA would control the impurity in the APL MSN has not shown that a POSA would be

motivated to obtain a cabozantinib (L )-malate formulation essentially free of the 1-1 impurity.

               e. Reasonable expectation of formulating a cabozantinib (L)-malate
                  formulation essentially free of the 1-1 impurity

       I do not think a POSA would have a reasonable expectation of success that by using

recrystallization the POSA would create a formulation essentially free of the 1-1 impurity. I find

persuasive Dr. Myerson's testimony that recrystallization would not have worked to purify the 1-

1 impurity because the impurity would be embedded in the crystalline lattice of the APL


                                                    55
Case 1:22-cv-00228-RGA            Document 186 Filed 10/15/24             Page 56 of 67 PageID #:
                                             6927



       MSN contends that the first thing a POSA would have tried is recrystallization, and that

there are many prior art examples that show recrystallization purifies an APL (D.I. 169 at 29).

MSN argues that therefore, a POSA would have a reasonable expectation of success in using

recrystallization. (Id.) . MSN cites Purdue for the proposition that "because only routine

techniques and commonly possessed training would be required, I find that the POSA would

have had a reasonable expectation of success." Purdue Pharma L.P. v. Accord Healthcare Inc. ,

669 F. Supp. 3d 286, 317 (D. Del. 2023), appeal docketed, No. 23-1953 (Fed. Cir. May 30,

2023). Purdue does not help MSN's argument. In Purdue there was no debate that a POSA

would be successful using known techniques- the issue was whether a POSA would be

motivated to use the known techniques. Id. Here, I find that the known technique of

recrystallization would not be expected to be successful. While recrystallization might work for

many AP Is, Dr. Myerson' s testimony is specific to cabozantinib and the 1-1 impurity. Dr.

Myerson convincingly explains why in this case, a POSA would not have a reasonable

expectation of success in using recrystallization.

               f.   Secondary considerations/objective indicia of non-obviousness

       MSN generally argues secondary considerations in connection with the obviousness

challenge to the ' 349 patent. (D.I. 169 at 31). But it also incorporated by reference its arguments

as to commercial success and long-felt but unmet need into its arguments about double patenting

of the Malate Salt Patents. (D.I. 169 at 33). Thus, some of what follows addresses not only the

' 349 patent but also the Malate Salt Patents.

       Exelixis offers evidence of three secondary considerations of non-obviousness:

commercial success, long-felt but unmet need, and unexpected results. (D.I. 175 at 57- 58).




                                                     56
Case 1:22-cv-00228-RGA            Document 186 Filed 10/15/24               Page 57 of 67 PageID #:
                                             6928



        A patentee is not required to present evidence of secondary considerations. See

Prometheus Lab'ys, Inc. v. Roxane Lab'ys, Inc., 805 F.3d 1092, 1101- 02 (Fed. Cir. 2015). There

must be enough evidence, however, for a finding that a given secondary consideration exists by a

preponderance of the evidence. See Apple Inc. v. Samsung Elecs. Co. , Ltd., 839 F.3d 1034, 1053

(Fed. Cir. 2016) (en bane). If there is, then the probative value of each secondary consideration

will be considered in light of the evidence produced. " It is the fact finders' job to assess the

probative value of the evidence presented." Id. at 1056. That does not mean, though, that the

burden of persuasion on the ultimate question of obviousness transfers to the proponent of the

secondary consideration. Pfizer, Inc. v. Apotex, Inc. , 480 F.3d 1348, 1360 (Fed. Cir. 2007). That

burden stays always with the patent challenger. Id.

       I think, even without analysis of secondary consideration, Claim 3 of the ' 349 patent is

non-obvious. Since Exelixis has asserted three secondary considerations, I will take them into

account. Exelixis has not proven by a preponderance of the evidence that Cabometyx met a long-

felt but unmet need, or that there were unexpected results. Exelixis has proven by preponderance

of the evidence that Cabometyx was a commercial success and that there is a nexus between

Claim 3 of the '349 patent and the secondary considerations. But, because I find that the '473

patent was a blocking patent to the '349 patent, the commercial success of Cabometyx is not a

strong indicator of non-obviousness.

                      i.   Long-felt but unmet need

       Exelixis argues there is a long-felt, unmet need for a safe and effective kidney cancer

treatment. (D.I. 175 at 58; Tr. 955:2- 10). The parties' dispute centers around whether

cabozantinib's improvement in patient outcomes is sufficient to meet the long-felt, unmet need.

(D.I. 169 at 33-34, D.I. 175 at 48).



                                                      57
Case 1:22-cv-00228-RGA             Document 186 Filed 10/15/24                Page 58 of 67 PageID #:
                                              6929



        This court's discussion oflong-felt but unmet need in Pfizer is instructive. Pfizer Inc. v.

Mylan Pharms. Inc. , 71 F. Supp. 3d 458 (D. Del. 2014), ajj'd, 628 F. App'x 764 (Fed. Cir. 2016)

(per curiam). In that case, the court found that the renal cancer drug sunitinib malate met a long-

felt but unmet need "for treatments for renal cell carcinoma ('RCC ') and pancreatic

neuroendocrine tumors ('PNET')." Id. at 475. Central to the court' s finding was evidence "that

sunitinib malate provided greatly improved clinical outcomes for RCC patients, and represented

a 'huge paradigm shift' for the treatment of PNET." Id.

       This court has also found long-felt but unmet need when a new drug helps a portion of

patients needing treatment. UCB, Inc. v. Accord Healthcare, Inc. , 201 F. Supp. 3d 491 , 538 (D.

Del. 2016) (finding long-felt but unmet need was fulfilled by an epilepsy drug that was "effective

at controlling seizures in a segment of the population who had previously gone without relief

from other available [antiepileptic drugs]"), ajj'd, 890 F.3d 1313 (Fed. Cir. 2018).

       I do not think that Exelixis has shown by a preponderance of the evidence that
                                                                          1
cabozantinib fulfilled a long-felt but unmet need. Dr. George testified that cabozantinib

improved patient outcomes for a certain population of patients by "[ creating] a treatment option

for the first time that extended survival . . . for the majority of patients in the subsequent lines of

therapy." (Tr. 949:7- 15).

       Dr. George did not characterize how much greater patient outcomes were on

cabozantinib. He testified only that patients demonstrated "increased overall survival, delayed

disease progression, and improved the objective response compared with" other drugs. (Tr.

950:13- 19). And Dr. George expressed his understanding that any cancer treatment that would

extend the lives of cancer patients beyond previously available therapies would meet a long-felt

but unmet need. (961 :23- 962:2). I interpret Dr. George ' s testimony to be equating "long-felt but



                                                      58
 Case 1:22-cv-00228-RGA            Document 186 Filed 10/15/24              Page 59 of 67 PageID #:
                                              6930



unmet need" to "improvement." But they are not the same thing. Dr. George's testimony is not

sufficient for Exelixis to meet its burden of showing long-felt unmet need by a preponderance of

the evidence.

        MSN argues that cabozantinib offered only an incremental improvement over existing

therapies. (Tr. 996:8-11). I find this argument persuasive. I do not think cabozantinib greatly

improved clinical outcomes. Dr. Mega testified that there were other drugs that treated renal cell

carcinoma on the market when cabozantinib entered the market. (Tr. 996:22- 997 :1). And Dr.

George admitted that he prescribes treatments other than cabozantinib as a front-line treatment

for patients with renal cell carcinoma. (Tr. 965:22- 966:4). Dr. Mega testified there are options

other than cabozantinib for second-line treatment. (Tr. 1002: 13-20). The evidence at trial does

not establish that cabozantinib "provided greatly improved clinical outcomes," "represented a

'huge paradigm shift,"' or treated patients "who had previously gone without relief." See Pfizer,

71 F. Supp. 3d at 475; UCB, 201 F. Supp. 3d at 538. Exelixis has not shown by a preponderance

of the evidence that cabozantinib fulfilled a long-felt but unmet need.

                     ii.   Unexpected results

       Exelixis argues that it was unexpected that cabozantinib (L)-malate could be formulated

and stay essentially free of the 1-1 impurity over time. (D.I. 175 at 59). Exelixis cites Dr. Shah,

one of the inventors. Dr. Shah testified that the results of the stability testing were "interesting

and surprising" because there was less 1-1 impurity formed than expected given that the impurity

"was seen to increase in the presence of moisture, heat, and oxygen." (Tr. 612:1- 11).

       MSN argues that the only expert testimony offered was that cabozantinib (L)-malate was

very stable and that a POSA would not expect the 1-1 impurity to form as a degradation product.

(D.I. 169 at 35; D.I. 177 at 22; see Tr. 661 :9- 24, 663:8- 11 , 722:7- 10). However, the testimony



                                                      59
 Case 1:22-cv-00228-RGA           Document 186 Filed 10/15/24             Page 60 of 67 PageID #:
                                             6931



that MSN cites from Dr. MacMillan and Dr. Myerson was related to the degradation occurring

while forming the API, not during the formulation of the capsule or tablet or while on the shelf.

       MSN argues, citing Dr. Donovan, that it was not unexpected that the formulation was

essentially free of the impurity because a POSA would have expected that cabozantinib (L)-

malate that is essentially free of the 1-1 impurity could be formulated into a capsule or tablet that

is essentially free of the 1-1 impurity. (Tr. 399:18-400:19). Exelixis cites testimony that Dr.

Shah and his colleagues did not see as much 1-1 impurity as expected because they "were

starting at the very low levels of 1-1 in the APL" (Tr. 612:7- 8). I therefore find that a POSA

would expect that the cabozantinib (L)-malate could be formulated and stay essentially free of

the 1-1 impurity. Exelixis has not established unexpected results by a preponderance of the

evidence.

                    iii.   Commercial success

       Exelixis argues that Cabometyx is commercially successful. (D.I. 175 at 58). In the four

years ending in 2020, Exelixis generated $4.9 billion in revenue from the sale of Cabometyx.

(Tr. 985:8- 22). Cabometyx obtained a 39% market share of the tyrosine kinase inhibitor market.

(Tr. 981:14- 982:8). It is the market leader for second-line therapy and therapies capable of use

as a monotherapy or combined therapy. (Tr. 984: 13- 985 :5).

       "When a patentee can demonstrate commercial success, usually shown by significant

sales in a relevant market, and that the successful product is the invention disclosed and claimed

in the patent, it is presumed that the commercial success is due to the patented invention."

Galderma Lab'ys, L.P. v. Tolmar, Inc., 737 F.3d 731 , 740 (Fed. Cir. 2013) (internal quotation

marks and citations omitted).




                                                    60
Case 1:22-cv-00228-RGA            Document 186 Filed 10/15/24              Page 61 of 67 PageID #:
                                             6932



       MSN does not dispute Exelixis' data. Instead, MSN argues that Exelixis did not provide

any sort of benchmark to evaluate whether the numbers it presents means Cabometyx was

successful. (D.I. 169 at 34). MSN argues that Dr. Tate did not determine Cabometyx's

profitability because Dr. Tate presented revenue rather than profits or return on investment. (D.I.

177 at 22). But Federal Circuit precedent demonstrates that evidence of sales combined with

market share is sufficient to evaluate commercial success. See, e.g., In re Applied Materials, Inc.,

692 F.3d 1289, 1300 (Fed. Cir. 2012) ("[T]he more probative evidence of commercial success

relates to whether the sales represent a substantial quantity in the market.") (cleaned up); Tee Air,

Inc. v. Denso Mfg. Mich. Inc. , 192 F.3d 1353, 1361 (Fed. Cir. 1999) ("[S]ales figures coupled

with market data provide stronger evidence of commercial success."); Alcon Rsch., Ltd. v.

Apotex Inc., 687 F.3d 1362, 1371 (Fed. Cir. 2012) (holding it was not clearly erroneous that a

product was an "outstanding commercial success" based on a "70% market share within two

years of its launch" and "nearly $2 billion in sales within ten years").

       Cabometyx had a 26% market share in 2020 and a 39% market share in 2023. (Tr.

981: 17- 982:2). Cabometyx had $4.9 billion in sales in four years. (Tr. 985: 11- 22). I find

Cabometyx is a commercial success.

                    iv.    Blocking patent

       MSN argues that the '4 73 patent and its published parent application, the ' 140

publication, blocked anyone other than Exelixis from commercializing and developing

cabozantinib. (D.I. 169 at 33). The '473 patent covers cabozantinib and its pharmaceutically

acceptable salts and the ' 140 publication covers uses of cabozantinib. (' 4 73 patent 411: 10-

412:57; DTX 192).




                                                     61
Case 1:22-cv-00228-RGA           Document 186 Filed 10/15/24             Page 62 of 67 PageID #:
                                            6933



       "A patent has been called a 'blocking patent' where practice of a later invention would

infringe the earlier patent." Acorda Therapeutics, Inc. v. Roxane Lab ys, Inc., 903 F.3d 1310,

1337 (Fed. Cir. 2018). "The existence of such a blocking patent may deter non-owners and non-

licensees from investing the resources needed to make, develop, and market such a later,

'blocked' invention, because of the risk of infringement liability and associated monetary or

injunctive remedies." Id. "If the later invention is eventually patented by an owner or licensee of

the blocking patent, that potential deterrent effect is relevant to understanding why others had not

made, developed, or marketed that 'blocked' invention and, hence, to evaluating objective

indicia of the obviousness of the later patent." Id. Where "market entry by others was precluded

[due to blocking patents], the inference of non-obviousness of [the asserted claims] , from

evidence of commercial success, is weak." Merck & Co. v. Teva Pharms. USA, Inc., 395 F.3d

1364, 1377 (Fed. Cir. 2005).

       As the ' 473 patent covers the cabozantinib and its pharmaceutically acceptable salts, "no

one other than [Exelixis] could have practiced the invention of the ['473 patent] without facing

liability for patent infringement." Acorda Therapeutics, Inc. v. Roxane Labys, Inc. , 2017 WL

1199767, at *38 (D. Del. Mar. 31 , 2017), affdinpart, dismissed in part, 903 F.3d 1310 (Fed.

Cir. 2018).

       There were strong disincentives that would have deterred others from developing

cabozantinib. (Tr. 1018 :1- 1019:7). There were no successful challenges to the '473 patent; no

development of cabozantinib by others in the 2009 to 2011 time frame; there would have been

concerns of losing the invention race to Exelixis and its partners; no evidence of a good licensing

opportunity with the exclusive collaborations of Exelixis with GSK and BMS; and low economic




                                                    62
Case 1:22-cv-00228-RGA             Document 186 Filed 10/15/24               Page 63 of 67 PageID #:
                                              6934



opportunity for others in light of the blocking patent. (Id.). I find that the '4 73 patent and its

published parent application deterred others from developing cabozantinib.

       Exelixis raises three arguments for why there is no deterrence because of the ' 4 73 patent

and '1 40 publication.

       Exelixis cites Bial-Portela & CA. SA. v. Alkem Lab ys Ltd. , 2022 WL 4244989 (D. Del.

Sept. 15, 2022) to argue that the blocking patent does not undermine evidence of commercial

success. (D.I. 175 at 59). In Bial-Portela, the blocking patent did not obviate commercial success

because the blocking patent did not cover the feature of the patent that made it successful. Bia/-

Portela, 2022 WL 4244989, at *14. The blocking patent blocked the compound, but what drove

commercial success was the once-daily dosing. Id. Exelixis argues that here, the blocking patent

may cover the cabozantinib salt, but it is the purity and stability of the cabozantinib (L)-malate,

not the cabozantinib salt itself, that drove commercial success. (D.I. 175 at 58- 59). I agree that

the purity and stability of the crystalline cabozantinib (L)-malate drives at least part of the

commercial success of the drug. Exelixis presented expert testimony that it is necessary to

control the impurity to have a stable product, that it matters to patients to have a non-genotoxic

compound, and that doctors had to stop prescribing drugs after they were found to have

genotoxic impurities. (957:22- 958:13 , 959:4- 960:10; see Bial-Portela, 2022 WL 4244989, at

* 14 (" [P]hysicians identifying convenient dosing as a key reason they chose [a product protected

by a potential blocking patent] over other options" suggested "that the once-daily dosing was a

driver of the commercial success of [the product]")).

       Exelixis argues that several generic companies investigated cabozantinib and applied for

patents. (D.I. 175 at 58). Exelixis contends that this evidence shows that the ' 471 patent and ' 140

publication did not have a deterrent effect. (Id.). MSN cites Galderma Laboratories in reply for



                                                      63
Case 1:22-cv-00228-RGA            Document 186 Filed 10/15/24              Page 64 of 67 PageID #:
                                             6935



the proposition, "The mere fact that generic pharmaceutical companies seek approval to market a

generic version of a drug, without more, is not evidence of commercial success that speaks to the

non-obviousness of patent claims." Galderma Lab'ys, L.P. v. Tolmar, Inc., 737 F.3d 731, 740

(Fed. Cir. 2013); (D.I. 177 at 21). Galderma Labs is inapposite. Exelixis is not offering evidence

that generic companies investigated cabozantinib to show cabozantinib was successful, but to

show that the generic companies were not deterred by the blocking patent. But the relevant

inquiry is whether the '4 73 patent caused a deterrent effect, not whether all others were

dissuaded from resource investment. MSN has cited evidence that only itself and CIPLA were

investigating cabozantinib. (D.I. 169 at 33; DTX-121). That only two groups investigated

cabozantinib suggests Exelixis' competitors experienced disincentives in investing resources into

this area. I find that the '4 73 patent deterred investment of resources into making, developing,

and marketing the claimed invention.

       Exelixis contends that there was no blocking patent for the Malate Salt Patents. (D.I. 175

at 38). The priority date of the Malate Salt Patents is January 16, 2009. (Tr. 428:8- 10). The date

of the ' 140 publication is 2005, and the ' 473 patent issued in 2009. (Tr. 9- 21). I understand

Exelixis' argument to be that the ' 140 publication cannot be a "blocking patent." That is true,

since something that is not a patent cannot be a blocking patent. It does not follow, however, that

the ' 140 publication is irrelevant. Dr. Steed testified that the ' 140 publication "would discourage

[others] from adopting, of developing the kind of technology that's covered by [the ' 140

publication] just in case the application was granted and then they would infringe claims." (Tr.

486:24--487:2). Though it does not carry the same deterrent force as the ' 473 patent, I find that

the ' 140 publication had some deterrent effect. It would be a factor to consider by a company




                                                     64
 Case 1:22-cv-00228-RGA              Document 186 Filed 10/15/24           Page 65 of 67 PageID #:
                                                6936



deciding whether to invest resources in investigating cabozantinib, since it had the potential to

reduce the return on the company's investment.

                     v.      Nexus

        "For secondary considerations to have probative value, the decision maker must

determine whether there is a nexus between the merits of the claimed invention and the

secondary considerations." Ashland Oil, Inc. v. Delta Resins & Refractories, Inc., 776 F.2d 28 1,

305 n.42 (Fed. Cir. 1985). "[T]he patented invention ' need not be solely responsible for the

commercial success' of the accused products in order for a nexus to exist." IOENGINE, LLC v.

Paypal Holdings, Inc., 607 F. Supp. 3d 464, 508 (D. Del. 2002) (citing Cont'! Can Co. USA v.

Monsanto Co. , 948 F.2d 1264, 1273 (Fed. Cir. 1991 )). "Whether or not there is a nexus between

the novel features of the patented product and the commercial success must be evaluated in terms

of what is driving sales." AstraZeneca LP v. Breath Ltd., 88 F. Supp. 3d 326, 393 (D.N.J.), ajfd,

603 F. App'x 999 (Fed. Cir. 2015).

                          (a) The '349 patent

       I think the purity and stability of the crystalline cabozantinib (L)-malate drives at least

part of the commercial success of the drug. (FOF, 23). Claim 3 of the ' 349 patent recites that

the formulation is "essentially free" of the 1-1 impurity. ('3 49 patent at 34:30- 51). Therefore, for

the ' 349 patent, there is a nexus between the stability of the drug and its commercial success.

       Exelixis argues that a nexus is presumed because "Cabometyx and Cometriq both

embody the asserted claims and are coextensive with it." (D.I. 175 at 59- 60).16 "[I]fthe




       16
          Exelixis is unclear if it intends its embodiment argument for Cabometyx and Cometriq
to apply to the Malate Salt Patents as well. In any event, I do not think the argument applies. The
Malate Salt Patents have no purity requirements. Thus, since Cabometyx and Cometriq must be
essentially free of the 1-1 impurity, they are not coextensive with the Malate Salt Patents.
                                                     65
 Case 1:22-cv-00228-RGA           Document 186 Filed 10/15/24            Page 66 of 67 PageID #:
                                             6937



marketed product embodies the claimed features, and is coextensive with them, then a nexus is

presumed." Brown & Williamson Tobacco Corp. v. Philip Morris Inc. , 229 F.3d 1120, 1130

(Fed. Cir. 2000). Coextensiveness requires that the "patentee demonstrate that the product is

essentially the claimed invention." Fox Factory, Inc. v. SRAM, LLC, 944 F.3d 1366, 1374 (Fed.

Cir. 2019). Dr. Myerson and Dr. Donovan testified that Cabometyx and Cometriq embody the

asserted claims. (Tr. 688:12- 15; Tr. 422:7- 9).

       MSN argues that the asserted claims "are broad enough to cover devices that either do or

do not solve the long-felt need," so "the evidence of non-obviousness fails because it is not

commensurate in scope with the claims." (D.I. 169 at 32, quoting Therasense, Inc. v. Becton,

Dickinson & Co., 593 F.3d 1325, 1336 (Fed. Cir. 2010)) (cleaned up). MSN argues that "an

equally viable formulation of cabozantinib (L)-malate that is essentially free of the 1-1 impurity

could also be formulated without a glidant, which is outside the scope of the asserted claim."

(D.I. 169 at 32). Therasense is inapposite. The Federal Circuit in Therasense was addressing the

issue of whether the claims and the invention were coextensive, and thus whether the claims

included a limitation that solved the long-felt need argued by the patent owner, not whether the

claims could be designed around. Therasense, 593 F.3d at 1336.

       MSN has argued that its formulation is outside the scope of the '349 claim, and I have so

found. MSN does not dispute that Cabometyx and Cometriq embody Claim 3 of the '349 patent.

The purity and stability of the crystalline cabozantinib (L)-malate drives part of the commercial

success. Therefore, I find that there is a nexus between Claim 3 of the ' 349 patent and the

secondary considerations.




                                                    66
  Case 1:22-cv-00228-RGA            Document 186 Filed 10/15/24              Page 67 of 67 PageID #:
                                               6938



                         (b) The Malate Salt Patents

         Exelixis argues that there is a "nexus between the claimed inventions of the Crystalline

 Malate Salt Patents and Cabometyx and Cometriq: crystalline cabozantinib (L)-malate allows the

 API to be manufactured and developed in a formulation that is stable, safe, and effective for

 patients." (D.I. 175 at 38).

         I do not think that Exelixis has met its burden to show by the preponderance of the

 evidence that the crystalline cabozantinib (L)-malate allows the API to be manufactured in a

 formulation that is stable, safe, and effective for patients. Dr. Trout' s testimony is insufficient,

 particularly given that Exelixis made the argument in its briefing that impurities could form in

 the manufacturing process, after the API is formed . (D.I. 175 at 40). Exelixis cannot have it both

 ways.

         Exelixis has not met its burden to show the requisite nexus between the Malate Salt

 Patents and the secondary considerations.

         I have found a POSA would not be motivated to control for the 1-1 impurity, add a

 recrystallization step, or obtain a cabozantinib (L )-malate formulation essentially free of the 1-1

 impurity. A POSA would not have a reasonable likelihood of success in using recrystallization.

 Therefore, I find Claim 3 of the ' 349 patent is non-obvious.

VIII.    CONCLUSION

         For the foregoing reasons, I find the asserted claim of the ' 349 patent not infringed and

 not invalid. I find the asserted claims of the Malate Salt Patents not invalid.

         The parties shall submit a final judgment consistent with this trial opinion within one

 week.




                                                       67
